                 IN THE UNITED STATES DISTRICT COURT
                FOR THE MIDDLE DISTRICT OF TENNESSEE
                            CIVIL DIVISION

       UNITED STATES OF AMERICA
       AND STATE OF TENNESSEE
       ex rel.
       [UNDER SEAL]
       Relator
                                                   TO BE FILED IN
                                                   CAMERA AND UNDER
                                                   SEAL

       vs.                                  DO NOT PUT IN PRESS BOX
                                            DO NOT ENTER ON PACER

       [UNDER SEAL]

       Defendants.

                     DOCUMENT TO BE KEPT UNDER SEAL

                          DO NOT ENTER ON PACER

       Jerry E. Martin
       Seth Hyatt
       Barrett, Johnston Martin & Garrison, LLC
       414 Union Street; Suite 900
       Nashville, TN 37219

       Lead Counsel:
       Bryan A. Vroon, Esq.
       (Admitted pro hac)
       Georgia Bar No. 729086
       Law Offices of Bryan A. Vroon, LLC
       1380 West Paces Ferry Road
       Suite 2270
       Atlanta Georgia 30327

       Edward D. Robertson, Jr.
       (Admitted pro hac)
       Bartimus, Frickleton & Robertson
       715 Swifts Highway
       Jefferson City, MO. 65109


                                            1
Case 3:17-cv-00902    Document 20         Filed 05/24/18   Page 1 of 89 PageID #: 131
                 IN THE UNITED STATES DISTRICT COURT

                FOR THE MIDDLE DISTRICT OF TENNESSEE
                              CIVIL DIVISION

       UNITED STATES OF AMERICA
       AND STATE OF TENNESSEE
       ex rel.
       JEFFREY H. LIEBMAN
       Relator
                                              Case No. 3:17-CV-00902

                                           TO BE FILED IN
                                       CAMERA AND UNDER SEAL

       vs.                             DO NOT PUT IN PRESS BOX
                                       DO NOT ENTER ON PACER

       METHODIST LE BONHEUR HEALTHCARE,
       THE WEST CLINIC, WEST CANCER CENTER,
       UT METHODIST PHYSICIANS, LLC,
       METHODIST HEALTHCARE---MEMPHIS HOSPITALS,
       SPECIALTY PHYSICIAN GROUP, LLC,
       PRIMARY CARE GROUP, LLC,
       AND JOHN DOES 1-100

       Defendants.



         Relator’s First Amended Complaint Under the Federal and State
                               False Claims Acts




                                      2
Case 3:17-cv-00902   Document 20    Filed 05/24/18   Page 2 of 89 PageID #: 132
 Parties ........................................................................................................................................... 8
 Jurisdiction and Venue ........................................................................................................ 11
 Methodist’s Excessive Payments to West Clinic Physicians ................................... 12
     The Origins and Objectives of the Scheme.............................................................................. 12
     Methodist Has Paid Over $350 Million to West Clinic Physicians Since 2012 ........... 17
     $52 Million Office Complex for Free ......................................................................................... 20
     West Cancer Center Steering Committee Meetings in 2015 ............................................. 22
     The Financial Windfall Required by West Clinic Physicians............................................ 27
     Methodist’s Payments Have Rewarded and Induced Referrals ...................................... 30
 Methodist Has Excessively Paid Many Employed Physicians................................. 34
     Introduction ...................................................................................................................................... 34
     Over $180 Million in Financial Losses in Last 5 Years ....................................................... 35
     Methodist Budgeted for Major Losses ...................................................................................... 36
     Methodist Tracked and Monitored Referrals to Offset Losses ........................................ 40
     Methodist Has Excessively Paid Cardiologists and Cardiovascular Surgeons ........... 43
     Methodist Has Excessively Paid Transplant Surgery Physicians ................................... 51
       Examples of Excessive Payments within Transplant Surgery Group .................................... 54
     Methodist Has Overpaid Oncology Surgeons......................................................................... 56
       Examples of Excessive Payments to Oncology Surgeons............................................................ 57
     Methodist Excessively Paid Hospitalists ................................................................................. 60
       Examples of Excessive Payments to Hospitalists........................................................................... 61
 Applicable Laws ..................................................................................................................... 62
     Introduction to Federal Stark Laws .......................................................................................... 62
     Introduction to Federal Anti-Kickback Statute .................................................................... 66
     Compliance with Stark and AKS Is Condition of Each Federal Payment ...................... 69
       Compliance with AKS and Stark is Condition of Each Medicare Payment .......................... 70
       Compliance with AKS and Stark is Condition of Each Medicaid Payment........................... 74
       Compliance with AKS and Stark is Condition of Each TRICARE Payment........................... 76
 The Federal False Claims Act ............................................................................................. 77
 The Tennessee Medicaid False Claims Act .................................................................... 79
 Count I---Presenting False Claims in Violation of 31 U.S.C. § 3729(a)
 (1)(A) and Tenn. Code § 71-5-82(a)(1)(A) Against All Defendants ..................... 80
 Count II--- Use of False Statements in Violation of 31 U.S.C.
 3729(a)(1)(B) and Tenn. Code Ann. § 71-5-182(a)(1)(B) Against All
 Defendants ............................................................................................................................... 81
 Count III--- Conspiring to Submit False Claims in Violation of 31 U.S.C. §
 3729(a)(1)(C) and Tenn. Code Ann. § 71-5-182(a)(1)(C) Against All
 Defendants ............................................................................................................................... 83
 Count IV---Submission of Express and Implied False Certifications in
 Violation of 31 U.S.C. § 3729(a)(1)(B) and Tenn. Code Ann. § 71-5-


                                                                          3
Case 3:17-cv-00902                       Document 20                    Filed 05/24/18                    Page 3 of 89 PageID #: 133
 182(a)(1)(B) Against All Defendants ............................................................................ 84
 Count V---Knowingly Causing and Retaining Overpayments in Violation
 of 31 U.S.C. § 3729(a)(1)(G) and Tenn. Code Ann. § 71-5-182(a)(1)(D)
 Against All Defendants .......................................................................................................... 85
 Count VI--- False Record to Avoid an Obligation to Refund Against All
 Defendants ............................................................................................................................... 86
 Prayers for Relief ................................................................................................................... 87
 Certificate of Service ............................................................................................................. 88


 1.         Under the Federal False Claims Act, 31 U.S.C. § 3729 et seq., as amended

 (“FCA”), and the Tennessee Medicaid False Claims Act, Tenn. Code § 71-5-182 et seq.,

 Relator Jeffrey H. Liebman (“Liebman”) states his First Amended Complaint against

 Defendants Methodist Le Bonheur Healthcare, Methodist Healthcare---Memphis

 Hospitals, UT Methodist Physicians, LLC, Specialty Physician Group, LLC, Primary

 Care Group, LLC, 1 The West Clinic, West Cancer Center and John Does 1-100 filed

 under seal with the Court as follows.

 2.         This qui tam case is brought against the Defendants for knowingly defrauding the

 federal and state governments in connection with Medicare, Medicaid, TRICARE, and

 other government healthcare programs. As discussed in detail below, since at least 2012,

 the Methodist Defendants have engaged in a scheme to pay (1) financial inducements and

 excessive compensation to independent oncologists (the West Clinic physicians) who

 generated referrals and lucrative profits to the hospital system, and (2) excessive

 compensation to certain employed physicians who generated significant referrals to the

 hospital system.


 1 Defendants Methodist Le Bonheur Healthcare, Methodist Healthcare---Memphis
 Hospitals, UT Methodist Physicians, LLC, Specialty Physician Group, LLC, and Primary
 Care Group are sometimes collectively referred to as “the Methodist Defendants” or
 “Methodist.”

                                                                    4
Case 3:17-cv-00902                    Document 20                 Filed 05/24/18                 Page 4 of 89 PageID #: 134
 3.     The Defendants’ scheme has deliberately violated the Federal Anti-Kickback

 Statute (“AKS”) and Federal Stark laws discussed below.

 4.     The AKS prohibits a healthcare provider from offering or paying “any

 remuneration…directly or indirectly, overtly or covertly, in cash or in kind to any person

 to induce such person to…refer an individual to a person for the furnishing or arranging

 for the furnishing of any item or service for which payment may be made in whole or in

 part under a Federal health care program.” 42 U.S.C. § 1320a-7b(b).

 5.     The Stark laws prohibit the United States from paying for designated health

 services (“DHS”) prescribed by physicians who have improper financial relationships

 with the DHS provider. In addition to prohibiting the hospital from submitting claims

 under these circumstances, the Stark laws also prohibit payments by federal health care

 programs of such claims: "No payment may be made under this subchapter for a

 designated health service which is provided in violation of subsection (a)(1) of this

 section." 42 U.S.C. §1395nn (g)(1).2

 6.     From 2012 through the present, the Methodist Defendants paid West Clinic

 physicians over $350 million in cash payments in a scheme to reward and induce referrals

 of cancer patients for hospital admissions, infusion drug therapy, outpatient procedures,

 and ancillary services. The payments are ongoing. In violation of federal Stark laws and

 the AKS, Methodist has paid West Clinic physicians far in excess of “the fair market

 value of the services” personally performed by such physicians. 42 U.S.C.S. § 1395nn

 2
   “Designated health services” include “any of the following items or services: “clinical
 laboratory services, physical therapy services, occupational therapy services, radiology
 services...radiation therapy services and supplies, durable medical equipment and
 supplies, parenteral and enteral nutrients, equipment and supplies, prosthetics, orthotics
 and prosthetic devices and supplies, home health services, outpatient prescription drugs,
 inpatient and outpatient hospital services.” 42 U.S.C. §1395nn (h)(6).

                                             5
Case 3:17-cv-00902      Document 20        Filed 05/24/18     Page 5 of 89 PageID #: 135
 (e)(2). A major portion of these payments were profits from drug prescriptions written by

 West Clinic physicians for cancer drugs obtained by Methodist at deep discounts under

 the 340 Drug Pricing Program (“340B Program”).

 7.     Methodist has also paid numerous employed physicians at levels far in excess of

 the fair market value of their personal services. Under Stark laws, a hospital employing

 and paying a physician who refers Medicare and Medicaid patients must satisfy the four

 statutory requirements for "bona fide employment relationships": (1) the “employment is

 for identifiable services,” (2) “the amount of the remuneration under the employment...is

 consistent with the fair market value of the services” personally provided by the

 physician, (3) the remuneration “is not determined in a manner that takes into account

 (directly or indirectly) the volume or value of any referrals by the referring physician,”

 and (4) “the remuneration is provided pursuant to an agreement which would be

 commercially reasonable even if no referrals were made to the employer.” 42 U.S.C.S. §

 1395nn (e)(2). Methodist has repeatedly violated these requirements of federal law and

 excessively paid multiple physician specialists based in part on the referral revenues they

 generated for the hospital system.

 8.     The Defendants’ scheme of illegal remuneration to referring physicians has been

 financed in part by profits from the 340B Program. Methodist’s profits from the 340B

 Program totaled approximately $74.3 million in 2015 and $112.1 million in 2016. In the

 past five years, Methodist’s profits from the 340B Program have exceeded $400 million.

 9.     The Defendants’ scheme has caused major damages to federal and state health

 care programs, including patients covered under Medicare, Medicaid, or TRICARE in

 addition to federal employees and retired federal employees. Since 2012, the Methodist



                                             6
Case 3:17-cv-00902       Document 20       Filed 05/24/18      Page 6 of 89 PageID #: 136
 Defendants have received over $1.7 billion from Medicare. Medicare payments account

 for approximately 22-27 percent of the Methodist Defendants’ net revenues each year.

 Additionally, Medicaid covers approximately 20-23 percent of all patient visits each year

 at Methodist hospitals.

 10.    A significant portion of such payments from Medicare and Medicaid derived from

 inpatient and outpatient referrals by physicians receiving excessive payments from the

 Methodist Defendants in violation of the AKS and/or Stark laws. Between 2012 and the

 present, the Defendants submitted thousands of false claims both for specific services

 provided to beneficiaries of federal healthcare programs and claims for general and

 administrative costs incurred in treating such beneficiaries.

 11.    The scheme has resulted in massive financial enrichment to all parties at the

 expense of Medicare and Medicaid. Senior Methodist executives have profited from this

 scheme to boost hospital system revenues because they have been paid bonuses based in

 part on the financial performance of the hospital system. 3 Over the past six years, the

 Methodist system has obtained over $1 billion in increased revenues from increased

 referrals of cancer patients in the region and West Clinic physicians have received a

 financial windfall of over $350 million in cash payments from Methodist plus free office

 space and additional funding for operations, staff, and research. Medicare payments for

 cancer patients have largely funded the financial windfall to all parties.



 3  Methodist’s senior executives have been compensated at extraordinary levels for a
 “non-profit” hospital system. For example, in 2015, Methodist Healthcare’s Chief
 Executive Officer received compensation in excess of $5.3 million (including a bonus of
 $485,684.00), the Chief Operating Officer received compensation in excess of 1.3 million
 (including a bonus of $205,974.00), and the Chief Financial Officer received
 compensation in excess of 1.1 million (including a bonus of $258,856.00).

                                              7
Case 3:17-cv-00902         Document 20      Filed 05/24/18       Page 7 of 89 PageID #: 137
                                          Parties


 12.       Relator Liebman is the former President of Methodist University Hospital,4 the

 largest hospital in the Methodist Healthcare system. He held the position of Chief

 Executive Officer of Methodist University Hospital from February of 2014 through early

 May of 2017 when his title became President. Liebman resigned from Methodist in late

 August 2017.

 13.       Through his work and experience, Liebman has direct, detailed, and personal

 knowledge that the Methodist Defendants, West Clinic, and West Cancer Center have

 violated the AKS and Stark laws. Liebman also has direct, detailed, and personal

 knowledge that the Methodist Defendants have violated Stark laws in their excessive

 payments to many employed physicians based in part on the value of their referrals to the

 hospital system.

 14.       Defendant Methodist Le Bonheur Healthcare is an integrated healthcare system

 based in Memphis, Tennessee, with locations and partners across the Mid-South. The

 healthcare system includes:


          6 adult hospitals

 4  According to the Methodist Healthcare website, Methodist University Hospital is the
 principal teaching hospital of the University of Tennessee Health Science Center
 (“UTHSC”). UTHSC has provided academic appointments and research infrastructure for
 some physicians employed by Methodist. Methodist Healthcare has publicly referred to
 UTHSC as its “academic partner.” The relationship is not a legal partnership, but rather
 an affiliation among institutions. UTHSC is not a defendant to this action and the claims
 asserted in this action are not directed against UTHSC. UTHSC has not employed or
 controlled Methodist executives or West Clinic physicians.




                                             8
Case 3:17-cv-00902         Document 20     Filed 05/24/18    Page 8 of 89 PageID #: 138
          1 children’s hospital
          2 wound healing center
          2 sleep centers
          52 physician and specialty practices
          7 minor med and urgent care clinics
          5 surgery centers
          7 diagnostic centers
          7 cancer treatment sites
          1 hospice and palliative care facility
          Transplant Institute
          Sickle Cell Center
          7 work-site Clinics
          Home Health
          Home Medical Equipment



 15.       Defendant Methodist Healthcare---Memphis Hospitals (“MHMH”) is a wholly

 owned subsidiary of Methodist Le Bonheur Healthcare. MHMH is organized as a Section

 501(c)(3) entity consisting of five hospitals within an integrated healthcare delivery

 system. MHMH includes five Memphis hospitals---Methodist Germantown Hospital, Le

 Bonheur Children's Hospital, Methodist North Hospital, Methodist South Hospital, and

 Methodist University Hospital. The Board of Methodist Healthcare---Memphis Hospitals

 is comprised of the same persons as Methodist Le Bonheur Healthcare, the sole member

 and controlling parent organization.

 16.       Defendant UT Methodist Physicians, LLC (“UTMP”) is a physician practice

 group and wholly owned subsidiary of Methodist Le Bonheur Healthcare. UTMP is a

 “nonprofit” limited liability corporation organized under Section 501(c)(3) of the Internal

 Revenue Code of 1986. Methodist Healthcare owns, manages, and controls the operations

 of UT Methodist Physicians, including the employment and compensation terms offered

 and paid to employed physicians.

 17.       Defendant Specialty Physician Group, LLC is a physician practice group and


                                                 9
Case 3:17-cv-00902          Document 20        Filed 05/24/18   Page 9 of 89 PageID #: 139
  wholly owned subsidiary of Methodist Le Bonheur Healthcare. Methodist Healthcare

  owns, manages, and controls the operations of Specialty Physician Group, LLC,

  including the employment and compensation terms offered and paid to employed

  physicians.

  18.    Defendant Primary Care Group, LLC is a physician practice group and wholly

  owned subsidiary of Methodist Le Bonheur Healthcare. Methodist Healthcare owns,

  manages, and controls the operations of Primary Care Group, LLC, including the

  employment and compensation terms offered and paid to employed physicians.

  19.    In this First Amended Complaint, Methodist Le Bonheur Healthcare, Methodist

  Healthcare---Memphis Hospitals, UT Methodist Physicians, LLC, Specialty Physician

  Group, LLC, and Primary Care Group, LLC are sometimes collectively referred to as

  “Methodist Defendants” or “Methodist.”

  20.    The West Clinic is an independent practice group of medical oncologists,

  radiation oncologists, and other physician specialists based in Memphis, Tennessee.

  21.    In 2012, Methodist entered into what it has publicly described as an “innovative

  partnership” with the West Clinic to create West Cancer Center.         According to its

  website, West Cancer Center treats “more than 30,000 patients each year.”

  22.    The identities of the remaining Doe defendants who knowingly submitted or

  caused the submission of false claims to the United States and/or State of Tennessee are

  presently unknown to Relator. All listed Defendants and such additional Doe defendants

  have served as contractors, agents, partners, and/or representatives of one and another in

  the submission of false claims to the United States and/or the State of Tennessee and

  were acting within the course, scope and authority of such contract, conspiracy, agency,



                                             10
Case 3:17-cv-00902       Document 20       Filed 05/24/18     Page 10 of 89 PageID #: 140
  partnership and/or representation for the conduct described below.


                                     Jurisdiction and Venue

  23.     This Court has jurisdiction over the subject matter of this action under 28 U.S.C.

  § 1331, 28 U.S.C. § 1367, and 31 U.S.C. § 3732, the latter of which specifically confers

  jurisdiction on this Court for actions brought under 31 U.S.C. §§ 3729 and 3730.

  24.         Personal jurisdiction and venue are proper in this District under 28 U.S.C. §§

  1391(b) and 1395(a) and 31 U.S.C. § 3732(a) and Tenn. Code Ann. § 71-5-185, as

  Defendants transacted business or otherwise engaged in illegal conduct at issue within the

  District.

  25.         This action arises under the provisions of Title 31 U.S.C. § 3729, et seq,

  popularly known as the False Claims Act which provides that the United States District

  Courts shall have exclusive jurisdiction over actions brought under that Act.

  26.         Section 3732(a) of the Federal False Claims Act provides, “Any action under

  section 3730 may be brought in any judicial district in which the defendant or, in the case

  of multiple defendants, any one defendant can be found, resides, transacts business, or in

  which any act proscribed by section 3729 occurred.” The Tennessee Medicaid False

  Claims Act provides similar venue rules. See Tenn. Code § 71-5-185.

  27.     Methodist is the largest Medicaid provider in the State of Tennessee with over

  13,000 inpatient admissions each year covered by TennCare, the state of Tennessee’s

  Medicaid Program. TennCare is based within this District in Nashville, Tennessee. As

  discussed below, Defendants have submitted thousands of false claims to TennCare in

  Nashville and such claims have been processed and paid with federal and state funds

  administered by TennCare in Nashville. Venue is proper in this District where


                                               11
Case 3:17-cv-00902          Document 20      Filed 05/24/18     Page 11 of 89 PageID #: 141
  Defendants have submitted false claims in violation of the federal AKS and Stark laws.

  28.       Relator has filed this action within the 6-year statute of limitations under the False

  Claims Act and Tennessee Medicaid False Claims Act. This action seeks recovery under

  the False Claims Act and Tennessee Medicaid False Claims Act for violations of the

  AKS and Stark laws with respect to Defendants’ claims for payments by state and federal

  healthcare programs at least from 2012 through the present.

  29.       Prior to filing this case, Liebman, through his counsel, delivered a draft copy of

  the Complaint and his written Disclosure of substantially all material evidence and

  information in his possession to the United States Attorney’s Office for the Middle

  District of Tennessee, the United States Attorney General’s Office, and the Tennessee

  Attorney General’s Office.


                  Methodist’s Excessive Payments to West Clinic Physicians
                           The Origins and Objectives of the Scheme

  30.       In 2012, Methodist implemented a business plan to increase revenues to the

  hospital system through expanding its market share of cancer patients in the Memphis

  region.

  31.       For multiple reasons, oncology has been and is a lucrative service line for

  Methodist. First, cancer is a disease of aging and Medicare covers most cancer patients.

  Medicare is a reliable and prompt payer of medical bills. Second, many treatments for

  cancer patients have been particularly profitable for Methodist, including inpatient

  admissions with extensive ancillary services and outpatient visits for drug infusion

  therapy. Third, profits from cancer drugs have been lucrative for Methodist because of its

  participation in the 340B Program that gives participating hospitals deep discounts on


                                                 12
Case 3:17-cv-00902          Document 20        Filed 05/24/18      Page 12 of 89 PageID #: 142
  outpatient drugs.

  32.       Starting in approximately 2011, Methodist sought to further capitalize on profits

  from the 340B Program and sought to expand its cancer services through a “partnership”

  or alliance with the leading group of oncologists in the Memphis region---the West

  Clinic.

  33.       Methodist’s financial strategists wanted the referral stream of cancer patients from

  West Clinic physicians. This referral stream would lead to increased inpatient

  admissions, increased profits from infusion therapy drugs acquired at a discount and sold

  at retail rates, and increased profits from outpatient visits, imaging studies, and other

  ancillary services for cancer treatment.

  34.       In 2011, the managing oncologists of West Clinic and executive leaders of

  Methodist began discussing a business relationship or “alliance.” The leaders of West

  Clinic were looking for a hospital “partner” to create an outpatient cancer center called

  West Cancer Center. West Clinic leaders presented six primary financial requirements to

  Methodist’s executives. First, West Clinic physicians proposed to co-manage the cancer

  center with Methodist in exchange for a management fee paid by Methodist. Secondly,

  West Clinic physicians proposed that Methodist would pay a premium rate of $120 per

  wRVU 5 for all West Clinic physicians regardless of credentials, experience or

  collections. Third, West Clinic negotiators proposed that key personnel of West Clinic

  would be appointed to leadership positions within Methodist. Fourth, West Clinic

  5 The most common measure of physician productivity is Work Relative Value Units
  (wRVUs). These units reflect the level of time, skill, training, and intensity required of a
  physician to provide a given service. These units are the leading method for calculating
  the volume of work or effort expended by a physician in treating patients. Under this
  relative scale, a physician seeing two or three complex or high acuity patients per day
  would accumulate more RVUs than a physician seeing lower acuity patients each day.

                                                13
Case 3:17-cv-00902         Document 20        Filed 05/24/18      Page 13 of 89 PageID #: 143
  physicians wanted Methodist’s commitment of capital for West Cancer Center’s

  operations, office, staffing, and expenses. Fifth, West Clinic physicians wanted Methodist

  to fund their research. Sixth, West Clinic physicians wanted the “ability to capitalize on”

  the 340B Program by using Methodist’s status as a “covered entity.” West Clinic

  physicians knew that they did not quality as eligible entities to receive drug discounts

  under the 340B Program so they sought to capitalize on Methodist’s eligibility to receive

  discounts. West Clinic physicians wanted to be paid the lucrative profits from

  prescription cancer drugs to be acquired at deep discounts through Methodist.

  35.    Under this financial strategy, Methodist would acquire oral cancer drugs at

  discounts through the 340B Program, West Clinic physicians would prescribe the oral

  medications, the prescriptions would be filled at a designated pharmacy controlled by

  Methodist, the retail drug prices would be far higher than acquisition costs through the

  340B Program, and Methodist would channel the profits from drug sales to West Clinic

  physicians. 6



  6  The 340B Program requires drug manufacturers that participate in the Medicaid drug
  rebate program to extend discounts on drugs administered in the outpatient setting,
  including physician-administered infusion drugs such as those used to treat cancer. The
  typical discount ranges from 30% to 50% off the drug’s list price. As of January 1, 2015,
  there were 644 drug manufacturers participating in the 340B Program. Section
  340B(a)(4)(L) of the PHSA establishes the 340B Program eligibility requirements for
  hospitals defined in section 1886(d)(1)(B) of the Social Security Act (commonly referred
  to as "subsection (d) hospitals"). There are three categories of hospital eligibility. See 42
  U.S.C. 256b(a)(4)(L)(i). The first category of hospital eligibility requires hospital
  ownership or operation by a state or local government. The second category of hospital
  eligibility requires a hospital to be a public or private non-profit corporation that is
  formally granted governmental powers by a unit of state or local government. The third
  category of hospital eligibility includes a private non-profit hospital that has a contract
  with a state or local government to provide health care services to low-income
  individuals who are not eligible for Medicare or Medicaid. “Off-site outpatient facilities
  and clinics (child sites) not located at the same physical address as the parent hospital
  covered entity will be listed on the public 340B database, and are able to purchase and

                                              14
Case 3:17-cv-00902       Document 20        Filed 05/24/18      Page 14 of 89 PageID #: 144
  36.    In return, West Clinic physicians would agree to an arrangement of referring their

  patients to West Cancer Center and the Methodist hospital system.7 Such referrals would

  include cancer patients in need of inpatient admissions for surgeries or treatment,

  outpatient procedures and services, imaging services, laboratory services, infusion drugs8

  to be administered at Methodist facilities, and the host of ancillary services required for

  cancer treatment.

  37.    West Clinic’s leaders advised Methodist’s executives that they were also

  considering “partnerships” with Baptist Healthcare and Tenet. As the leading oncology

  practice in the region, West Clinic’s leaders sought to leverage the threat of entering into

  an exclusive alliance with a competitor of Methodist such as Tenet or Baptist Healthcare.

  38.     On April 28, 2011 Methodist’s executives met to discuss the overall terms of the

  arrangement under consideration with West Clinic. At this meeting, Methodist’s

  executives discussed a personal services agreement under which Methodist would pay

  $120 per wRVU for all physicians of West Clinic regardless of experience, credentials or



  use 340B drugs for eligible patients, if the hospital covered entity provides its most
  recently filed Medicare cost report demonstrating that: (1) each of the facilities or clinics
  is listed on a line of the cost report that is reimbursable under Medicare; and (2) the
  services provided at each of the facilities or clinics have associated outpatient Medicare
  costs and charges.” Federal Register, Vol. 80, No. 167, p. 52302 (August 28, 2015). This
  action does not seek remedies based on Defendants’ violations of the 340B Program.
  Rather, these violations are background information to the focus of this case---
  Defendants’ excessive payments to referring physicians and extensive violations of Stark
  laws and the AKS.
  7 West Clinic physicians committed their referrals to Methodist unless they were

  obligated to make referrals to other venues under prior managed care contracts.
  8 Infusion therapy involves the administration of medication through a needle or

  catheter. It is prescribed when a patient's condition is so severe that it cannot
  be treated effectively by oral medications. Such infusion medications were also acquired
  at deep discounts through the 340B Program and sold at high profits to the Medicare
  Program and commercial insurers.


                                              15
Case 3:17-cv-00902       Document 20        Filed 05/24/18      Page 15 of 89 PageID #: 145
  collections. There were 27 physicians at West Clinic at the time. Their collective annual

  wRVUs were approximately 259,000.

  39.    At this meeting, Methodist executives estimated that under the proposed

  arrangement with West Clinic, hospital profits from the sale of cancer drugs acquired

  under the 340B Program would increase by $30 million per year. Of this $30 million,

  Methodist’s executives discussed giving West Clinic physicians approximately $10

  million per year or the profits from oral drugs prescribed by West Clinic physicians to be

  acquired at discounts by Methodist under the 340B Program.

  40.    Methodist’s executives also discussed hospital profits from increased referrals by

  West Clinic physicians.

  41.    Methodist’s executives wanted to increase the hospital system’s market share of

  cancer patients and wanted to further capitalize on increasing profits under the 340B

  Program. At this meeting, Methodist’s senior executives stated their view that West

  Clinic was a leading community-based oncology practice with the ability to shift or refer

  significant market share of cancer patients to Methodist.

  42.    In the months after this meeting Methodist’s executives finalized the following

  agreements with West Clinic physicians effective December 31, 2011: Professional

  Services Agreement (“PSA”), Co-Management Agreement, Leased Employee and

  Administrative Services Agreement, and Unwind Agreement that have governed

  operation of the Cancer Center Sites as defined in the PSA. The Agreements have an

  initial term of seven years ending on December 31, 2018.

  43.    Methodist also subsequently entered into a 340B Contract Pharmacy Services

  Agreement with AnovoRX Group, LLC for the purpose of providing pharmacy services



                                             16
Case 3:17-cv-00902       Document 20       Filed 05/24/18     Page 16 of 89 PageID #: 146
  dedicated to filling prescriptions and managing collections for oral drugs ordered by West

  Clinic physicians.

  44.     At a Methodist Board meeting in December of 2011, Methodist executives

  projected that the deal with West Clinic would increase the hospital system’s annual net

  revenues by approximately $200 million.


        Methodist Has Paid Over $350 Million to West Clinic Physicians Since 2012

  45.     Since 2012, Methodist has paid over $350 million in cash directly to West Clinic

  physicians in addition to other benefits discussed below. These payments were far in

  excess of the fair market value of the physicians’ personal services.

  46.     In 2012, Methodist paid approximately $54.8 million to West Clinic physicians.

  In that year, West Clinic physicians’ wRVUs only represented approximately $34.6

  million of this $54.8 million payment from Methodist. The additional payment amounts

  of approximately $19 million largely represented profits from prescription cancer drugs

  written by West Clinic physicians and inflated “management” fees.

  47.     In 2013, Methodist paid $51.9 million to West Clinic physicians. In that year,

  West Clinic physicians’ wRVUs only represented approximately $36.7 million of this

  $51.9 million payment from Methodist. The additional payment amounts of

  approximately $15 million represented profits of approximately $10-$11 million from

  prescription cancer drugs written by West Clinic physicians and inflated “management”

  fees.

  48.     In 2014, Methodist paid $56.3 million to West Clinic physicians. In that year,

  West Clinic physicians’ wRVUs only represented $38.4 million of this $56.3 million

  payment from Methodist. The additional payment amounts of approximately 18 million


                                              17
Case 3:17-cv-00902       Document 20        Filed 05/24/18      Page 17 of 89 PageID #: 147
  represented profits from prescription cancer drugs written by West Clinic physicians and

  inflated “management” fees.

  49.    In 2015, Methodist paid $53.1 million to West Clinic physicians. In FY 2016

  Methodist’s payments to West Clinic physicians escalated to $68.0 million.

  50.    At the start of the deal Methodist’s executives estimated that increased profits

  from selling cancer drugs under the 340B Program would be approximately $20 million

  per year. Methodist contemplated paying an additional $10 million per year to West

  Clinic physicians---this $10 million estimate represented projected profits from

  prescriptions for cancer drugs written by West Clinic physicians.

  51.    In 2015 the profits from prescriptions filled by AnnovoRX9 totaled approximately

  $10,061,455.00 and Methodist transferred this entire amount to West Clinic physicians in

  addition to payments for supposed wRVUs and “management fees.”

  52.    In 2016 the profits from prescriptions filled by AnnovoRX totaled approximately

  $10,554,251.00 and Methodist transferred this entire amount to West Clinic physicians in

  addition to payments for supposed wRVUs and “management fees.”

  53.    Year after year since 2012, Methodist has shared those profits from the 340B

  Program with West Clinic physicians as financial inducements to capture the revenue

  stream from referrals of cancer patients by these physicians. This profiteering scheme

  was a deliberate violation of Stark laws and the AKS. This scheme was also contrary to

  patient care because physicians were rewarded and incentivized to (1) increase referrals

  to the hospital system, and (2) to increase prescriptions for oral cancer drugs.


  9 AnovoRX filled prescriptions and managed collections for oral drugs ordered by West
  Clinic physicians.


                                              18
Case 3:17-cv-00902       Document 20        Filed 05/24/18       Page 18 of 89 PageID #: 148
  54.    Some of Methodist’s overpayments to West Clinic physicians were disguised as

  supposed “management fees.” In 2012, Methodist paid $3.0 million to West Clinic

  physicians for “management fees.” In 2013, Methodist paid $3.2 million to West Clinic

  physicians for management fees. The annual management fees increased to $4.4 million

  in 2014 and continued to be paid by Methodist in 2015, 2016, 2017, and 2018.

  55.    From 2012-2018, Methodist has paid West Clinic physicians over 25 million

  dollars in “management” fees for West Cancer Center. West Cancer Center is jointly

  managed with Methodist. West Clinic physicians are not handling management

  responsibilities without assistance from the hospital system. These “management fees”

  are excessive and far beyond any legitimate fair market valuation of management

  services.

  56.    On May 23, 2014, Liebman met with Erich Mounce, West Clinic’s Chief

  Executive Officer, at Mounce’s request to discuss several issues. At this meeting,

  Mounce informed Liebman that eventually more cancer related services would be moved

  under his direction in order to “justify” the management fees that West Clinic physicians

  were receiving from Methodist.

  57.    In addition to the massive direct payments to West Clinic physicians, Methodist

  has also committed approximately $58.8 million in “cancer mission support funds” for

  West Cancer Center during the term of the parties’ original agreements---2012-2018.

  58.    Under the alliance with West Clinic, Methodist also agreed to pay $7 million to

  Vector Oncology (formerly known as Acorn), a research entity controlled by West Clinic

  physicians. West Clinic’s managing physicians required this $7 million payment as a

  condition of entering into the “alliance” with Methodist. West Clinic physicians used part



                                             19
Case 3:17-cv-00902       Document 20       Filed 05/24/18     Page 19 of 89 PageID #: 149
  of this $7 million payment to Vector to pay off Vector’s prior debts.

  59.    As a result of the extraordinary payments from Methodist, the oncologists of West

  Clinic have each received annual salaries exceeding $1 million and the managing

  oncologists of West Clinic have been paid annual salaries of approximately $3 million.

  Many physicians of West Clinic have enjoyed salaries at levels that are double, triple, or

  four times the national 90th percentile for radiation and medical oncologists in the United

  States. The national 90th percentile compensation for radiation oncologists was $746,507

  in 2013, $754,356 in 2014, $781,545 in 2015, $758,720.92 in 2016, and $835,697.81 in

  2017 according to MGMA Physician Compensation and Production Survey Data. 10 The

  national 90th percentile compensation for medical oncologists was $777,940 in 2013,

  $922,244 in 2014, $762,970 in 2015, $693,452.28 in 2016, and $646,226.73 in 2017

  according to MGMA Physician Compensation and Production Survey Data.


                           $52 Million Office Complex for Free

  60.    In December of 2013, Methodist Healthcare---Memphis Hospitals purchased the

  Germantown Multi-Specialty Center at 7945 Wolf River Boulevard in Memphis for

  approximately $22.5 million from UT Medical Group, Inc. The building when purchased

  was approximately 116,865 square feet of space located on 9.6 acres of land. In the

  following year, Methodist spent approximately $30 million dollars to renovate the


  10
    Each year Medical Group Management Association (“MGMA”) surveys medical
  practices nationally to obtain the most recent physician compensation and production
  data. The MGMA Physician Compensation and Production Surveys are leading
  benchmarking resources for physician compensation in the United States. The annual
  MGMA Surveys are based on physician compensation and productivity data in the prior
  year. For example, the 2017 MGMA Survey reports physician compensation data from
  2016.




                                             20
Case 3:17-cv-00902       Document 20       Filed 05/24/18      Page 20 of 89 PageID #: 150
  building.

  61.     On June 25, 2014, Liebman met with Dr. Ballo, Director of Radiation Oncology

  at West Cancer Center. Dr. Ballo stated that Methodist executives promised to move

  patients “out of downtown” to a new location for the convenience of West Clinic

  physicians. Dr. Ballo also stated that Methodist was funding construction of a new

  building for West Clinic physicians and that profits from the 340B Program were the

  economic “engine” for the relationship between West Clinic and Methodist.

  62.     On August 7, 2014, Liebman again met with Erich Mounce, the Chief Executive

  Officer of West Cancer Center, to discuss space options on the campus for a new

  oncology building. Mounce stated that the costs of this project would not be assigned to

  the cancer program but to Methodist University Hospital to make sure that the financials

  of West Cancer Center would look as strong as possible. He also indicated that West

  Clinic would determine who could practice in the building even though the hospital had

  an open medical staff. Liebman told him that the medical staff bylaws would not allow

  that.

  63.     In 2015, West Clinic physicians moved their office operations to the Germantown

  Multispecialty Center at 7945 Wolf River Boulevard purchased and renovated by

  Methodist at a cost of approximately $52 million. Since that time, West Clinic physicians

  have enjoyed free office space compliments of Methodist.

  64.     Federal regulations under the Stark laws require that “the space rented or leased

  does not exceed that which is reasonable and necessary for the legitimate business

  purpose of the lease arrangement” and the “rental charges” must be “consistent with fair

  market value.” See 42 C.F.R. §411.357(a)(3) and (4). The “lease arrangement [must] be



                                             21
Case 3:17-cv-00902       Document 20       Filed 05/24/18     Page 21 of 89 PageID #: 151
  commercially reasonable even if no referrals were made between the lessee and the

  lessor.” 42 C.F.R. §411.357(a)(6).

  65.    A hospital system spending $52 million on office property and then letting non-

  employed physicians use that property for free is not commercially reasonable or

  consistent with fair market values.


                West Cancer Center Steering Committee Meetings in 2015

  66.    In early 2015, Methodist’s executives who engineered the deal with the West

  Clinic became more anxious about the risks of losing the $50 million investment into the

  new West Clinic office space and the risks of losing revenues from referrals by West

  Clinic physicians if they chose to opt out of the alliance as allowed by their existing

  agreements with 6-month notice. Methodist’s strategists sought to reach a longer term

  “deal” with West Clinic and they formed a “Steering Committee” composed of

  executives at Methodist, West Clinic, West Cancer Center, and University of Tennessee

  Health Science Center (“UTHSC”).

  67.    On January 8, 2015, at Michael Ugwueke's (Methodist COO) request, Liebman

  arranged a conference call with Chartis Group` (“Chartis”), a health care consulting firm.

  The purpose of the conference call was to discuss that firm assisting in developing a

  mutually agreeable business plan for Methodist and West Clinic to continue their

  “alliance” into the future. The conference call was at 10:00 am Central Time on January

  8, 2015.

  68.    On February 3, 2015, Liebman attended a meeting with Ugwueke (Methodist

  COO), David Stern (Executive Dean for UTHSC), attorney Chris Jedrey who was

  making a pitch to represent UT, Chris Regan and Pamela Damsky from Chartis, and Eric


                                             22
Case 3:17-cv-00902       Document 20       Filed 05/24/18     Page 22 of 89 PageID #: 152
  Mounce (CEO of West Cancer Center) to discuss forming a steering committee to extend

  the “alliance” between Methodist and West Clinic physicians.

  69.    At that meeting, Mounce stated that West Clinic physicians had some “non-

  negotiable” requirements, including (1) keeping their income levels above the 90th

  percentile, and (2) protecting their income levels in the event of any change in the 340B

  Program that Methodist was using to channel profits from cancer drug sales to West

  Clinic physicians.

  70.    Mounce subsequently insisted on using a different consulting firm---

  PricewaterhouseCoopers (PwC). That firm was hired to conduct interviews and develop

  a business plan mutually agreeable for the parties to extend the duration of the “alliance.”

  71.    After this meeting, Ugweuke told Dr. Stern that he could he not bring legal

  counsel on behalf of UTHSC11 to the Steering Committee meetings.

  72.    The West Cancer Center---Strategy and Partnership Model Steering Committee

  (“Steering Committee) met several times in the summer of 2015. Liebman attended

  several of these meetings.

  73.    As part of the Steering Committee’s work, PwC consultants interviewed

  numerous Methodist executives, West Clinic physicians, and West Cancer Center

  leaders, including: Gary Shorb, CEO of Methodist; Michael Ugweuke, COO of

  Methodist; Chris McLean, CFO of Methodist; Jeff Liebman, CEO of Methodist

  University Hospital; William Kenley, CEO of Germantown Hospital; Eric Mounce, CEO


  11 Throughout the history of their relationship, UTHSC did not control or participate in
  Methodist’s senior management decisions to make excessive payments to West Clinic
  physicians or employed physicians. UTHSC has not managed, operated or controlled
  Methodist, West Cancer Center or West Clinic physicians.


                                              23
Case 3:17-cv-00902       Document 20        Filed 05/24/18      Page 23 of 89 PageID #: 153
  of West Cancer Center; Dr. Kurt Tauer, COS of West Cancer Center; Dr. Lee

  Schwartzberg, CMO of West Cancer Center; Dr. Matt Ballo, Medical Director of West

  Cancer Center; and Ari Vanderwalde, Director of Clinical Research at West Cancer

  Center.

  74.       On June 3, 2015, the Steering Committee held its first meeting. In attendance

  were executives from Methodist, UTHSC, and West Clinic. Methodist did not have legal

  counsel in attendance at this meeting.

  75.       At this meeting, Methodist senior executives confirmed that they wanted to use

  340B drug profits and other methods to incentivize the West Clinic physicians to help

  Methodist capture more market share of cancer patients in the region. Methodist’s

  executives confirmed that they wanted to maximize referrals of cancer patients to the

  Methodist system because of high profits associated with oncology services and they

  would continue to pay West Clinic for that objective in multiple ways and would help

  expand West Clinic with Methodist capital. West Clinic executives and physicians

  represented that they had the ability to shift even more cancer “market share” or cancer

  patients to Methodist in exchange for “financial support.” During the meeting, Liebman

  asked several times if there were any regulatory risks with this business arrangement.

  76.       As discussed at the Steering Committee meeting, West Clinic’s goals in

  originally forming the “alliance” included the desire to obtain 340B drug profits and to

  align with a hospital system for financial “capital.” Methodist’s goals included increased

  profits from 340B drug sales and increased market share of cancer patients. The Steering

  Committee meeting confirmed that Methodist made massive payments to West Clinic

  physicians because they had the ability to send major volumes of cancer patients to



                                              24
Case 3:17-cv-00902        Document 20       Filed 05/24/18     Page 24 of 89 PageID #: 154
  Methodist. In return, Methodist offered its eligibility to capitalize on 340B drug profits

  and willingness to give drug profits to West Clinic physicians in addition to other capital

  as financial inducements for their patient referrals.

  77.    At the Steering Committee meeting, Methodist executives discussed the financial

  terms and profits to date from the deal with West Clinic physicians. The original

  projections by Methodist executives at the beginning of the “alliance” with West Clinic

  contemplated increased annual 340B drug profits of approximately $15 million. Actual

  340B drug profits had been higher at approximately $25-30 million dollars per year from

  referrals by West Clinic physicians. The original terms contemplated “management fees”

  of approximately $3 million per year paid to West Clinic physicians.           The actual

  management fees paid to West Clinic in FY 2014 were approximately $4.4 million. The

  original terms also provided for Methodist to pay $7 million to Vector (formerly known

  as Acorn), the research company controlled by West Clinic physicians. West Clinic

  physicians required these payments to Vector for the “alliance” between Methodist and

  West Clinic to continue. Methodist executives also discussed increased profits to the

  hospital system from West Clinic physicians’ referrals of cancer patients for hospital

  admissions.

  78.    At the Steering Committee meeting, Methodist executives and West Clinic

  executives further confirmed that the funding of the deal with West Clinic was heavily

  reliant on 340B drug profits. Payments to West Clinic physicians were not simply based

  on the physicians’ collections, wRVUs or personal services. Rather, payments to West

  Clinic physicians were substantially based on lucrative profits from cancer drug sales

  under the 340B Program. For example, in FY 2014 the wRVUs billed by West Clinic



                                               25
Case 3:17-cv-00902        Document 20        Filed 05/24/18    Page 25 of 89 PageID #: 155
  physicians   totaled   approximately $38    million   and   management     fees   totaled

  approximately 4.4 million. Yet in that year, Methodist paid West Clinic over $56.3

  million.

  79.    On July 15, 2015, the Steering Committee met again and Liebman attended this

  meeting along with executives from West Clinic and Methodist. At this meeting,

  Methodist executives discussed Methodist’s data demonstrating that referrals from West

  Clinic physicians to Methodist had increased market share to Methodist since the

  financial payments to West Clinic began. Between 2012 and the 2014, inpatient

  oncology volume at Methodist more than doubled as hospital discharges for cancer

  patients moved from 7,320 discharges in 2012 to 15,834 discharges in 2014. Outpatient

  oncology volume at Methodist moved from 27,890 visits in 2012 to 31,253 visits in 2014.

  80.    Between 2012 and 2014, the oncology payor mix at Methodist remained similar

  with 43 percent of oncology inpatient cases covered by Medicare and 13 percent covered

  by Medicaid. Medicare covered approximately 43 percent of oncology outpatients at

  Methodist and Medicaid covered approximately 8 percent.

  81.    At this meeting in July 2015, Liebman again questioned the legality of

  Methodist’s payments of 340B drug profits to West Clinic physicians. West Clinic

  physicians at that meeting insisted that if the 340B payments were reduced, they wanted

  the option to leave the “partnership.” Liebman told them that “we were dealing with a

  wobbly three legged stool" and the parties needed a deeper commitment to compliance.

  82.    At the Steering Committee meeting on August 20, 2015, several members of West

  Clinic insisted that the new business arrangement had to guarantee physician salaries at

  the 90th percentile or above no matter what happened to future revenues, profits and



                                            26
Case 3:17-cv-00902       Document 20      Filed 05/24/18      Page 26 of 89 PageID #: 156
  losses for the hospital system or 340B drug profits. Liebman again openly questioned the

  legality of such requirements in that meeting.


               The Financial Windfall Required by West Clinic Physicians

  83.    Methodist and West Clinic have negotiated a longer “alliance” and the new

  agreements were in the process of being finalized and signed when Liebman left

  Methodist in August of 2017. The terms of the new deal continue with the same core

  terms that have given a financial windfall to West Clinic physicians since 2012.

  84.    In the summer of 2016, Eric Mounce, CEO of West Cancer Center, circulated a

  memo called “Deal Points” to Methodist executives and Dr. David Stern, Executive Dean

  at UTHSC.

  85.    The “Deal Points” contemplated a new professional corporation to replace the

  structure of West Cancer Center. The financial payments to West Clinic physicians

  remained essentially the same as in the parties’ agreements starting in 2012.

  86.    First, West Clinic physicians required a “5 year strategic plan and business plan,

  and associated capital and operating budget commitments, for WCC.” The “Deal Points”

  stated, “As part of such strategic and business plans, MLH will commit to re-invest a

  mutually agreed portion of MLH’s oncology service contribution margin back into its

  oncology service line.”

  87.    This deal term reflected an ongoing agreement for Methodist to reward West

  Clinic physicians with a “mutually agreed portion” of the hospital system’s revenues

  from referrals or “oncology service contribution margin” generated by West Clinic

  physicians. Since 2012, Methodist has given West Clinic physicians the enormous profits

  from oral drugs prescribed by West Clinic physicians and acquired at discounts by


                                              27
Case 3:17-cv-00902       Document 20        Filed 05/24/18     Page 27 of 89 PageID #: 157
  Methodist under the 340B Program. Such payments have been a central focus of West

  Clinic physicians’ requirements to enter and continue the agreements with Methodist.

  88.    The “Deal Points” also included an agreement for Methodist to continue paying

  management fees to West Clinic physicians under the Co-Management Agreement.

  89.    The “Deal Points” also guaranteed income to West Clinic physicians at a level “at

  or above the 90th percent” compensation per wRVU. “The specialty-specific wRVU rate,

  and the CMA fees will be periodically re-appraised in accordance with the revaluation

  schedule in the Current Agreements.” The Deal Points further stated, “If the revaluation

  identifies a fair market value range for the specialty-specific wRVU rate, MLH and the

  PC agree to select the value that is at or above the 90th percent of that fair market value

  range.” This “deal point” guaranteed that West Clinic physicians would be paid at a level

  of compensation per wRVU at or above the national 90th percentile.

  90.    West Clinic physicians also required the option to “unwind” and walk out of the

  deal with Methodist if their income decreased “10% or more in any given year over life

  of Master Transaction Agreement.”

  91.     This “unwind” option in effect obligated Methodist to ensure that the physicians’

  income will not decrease by more than 10% in any given year. Methodist invested over

  $50 million in the office complex for West Cancer Center and the hospital system has

  received enormous profits from referrals by West Clinic physicians each year. West

  Clinic physicians and executives have repeatedly told Methodist’s executives that the

  physicians will opt out of or “unwind” the deal if Methodist stops paying them profits

  derived from the physicians’ prescriptions for oral cancer drugs. Methodist responded to

  the physicians’ fears about losing the profits under the 340B Program by agreeing that



                                             28
Case 3:17-cv-00902       Document 20       Filed 05/24/18      Page 28 of 89 PageID #: 158
  they could “unwind” the deal if their income decreased by more than 10 percent in any

  given year. Due to West Clinic’s leverage as the source of lucrative referrals to the

  hospital system, Methodist in effect guaranteed the physicians’ income would not

  significantly decrease.

  92.     Throughout the course of their “alliance,” Methodist and West Clinic physicians

  have achieved massive financial gains at the expense of compliance with federal laws.

  Methodist’s primary objective was to achieve greater market share of cancer patients in

  the region and the attendant profits from cancer infusion drugs, hospital admissions,

  outpatient visits, and ancillary services. West Clinic physicians’ primary objective was

  massive income guarantees through receipt of drug profits based on the volume and value

  of their referrals for oral cancer drugs, inflated compensation per wRVU, and inflated

  management fees. The deal has been a guaranteed financial windfall to West Clinic

  physicians without any financial risks except the risk of exposure for violating federal

  laws.

  93.     The parties have achieved their objectives over the last six years and have sought

  to conceal the truth about their financial arrangement through a series of tactics to ensure

  secrecy and “confidentiality.” West Clinic physicians and executives have had two major

  concerns: (1) exposure of the scheme in which Methodist has paid them over $50 million

  each year, and (2) actions by federal agencies or Congress to curb abuses or modify

  eligibility under the 340B Program. The parties have created a firewall of secrecy with

  respect to the payments from Methodist to West Clinic and have created a limited inner

  circle of individuals with knowledge of the financial terms. When Liebman questioned

  the legality of payments to West Clinic physicians, senior executives at Methodist



                                              29
Case 3:17-cv-00902          Document 20     Filed 05/24/18      Page 29 of 89 PageID #: 159
  removed him from the inner circle of communications regarding West Clinic physicians

  and West Cancer Center.

  94.     In orchestrating the kickbacks and illegal remuneration, Methodist’s objectives

  included the referral of thousands of cancer patients insured by Medicare. The

  Defendants’ scheme was and is illegal and harmful to patient care. Such physicians knew

  that Methodist was paying them at high levels not based on personal productivity, but

  rather based on their ability to generate revenues and profits for themselves and the

  hospital system through drug prescriptions, drug sales, inpatient admissions, outpatient

  visits, and ancillary services.


              Methodist’s Payments Have Rewarded and Induced Referrals

  95.     Since the beginning of the “alliance” between West Clinic and Methodist,

  increased referrals from West Clinic physicians to Methodist have led to massive profits

  for the hospital system.

  96.     The effect of the “alliance” has been seen in the volume and value of patient

  referrals over the course of the contracts between West Clinic physicians and Methodist.

  97.     Between 2012 and the 2014, inpatient oncology volume at Methodist more than

  doubled as hospital discharges for oncology admissions moved from 7,320 discharges in

  2012 to 15,834 discharges in 2014. Outpatient oncology volume at Methodist moved

  from 27,890 visits in 2012 to 31,253 visits in 2014.

  98.     For many years Methodist has maintained an accounting system to track and

  monitor the volume and value of patient referrals from all physicians to all hospitals and

  all service lines or departments of the hospital system. For example, in 2011, Methodist

  maintained “balanced scorecard” records that tracked monthly referrals for radiation


                                             30
Case 3:17-cv-00902        Document 20      Filed 05/24/18     Page 30 of 89 PageID #: 160
  therapy to University Hospital. In 2011, the year before the “innovative partnership,”

  West Clinic physicians referred 345 patients to University Hospital for radiation therapy.

  In 2012, West Clinic physicians referred 441 patients to University Hospital for radiation

  therapy. In 2014, West Clinic physicians referred 535 patients to University Hospital for

  radiation therapy. And in 2015, referrals from West Clinic physicians to University

  Hospital for radiation therapy increased to 646.

  99.      In addition to radiation therapy, West Clinic’s referrals to Methodist have

  included thousands of patients for infusion cancer therapy. Methodist has received

  enormous profits from such referrals because Methodist acquired infusion therapy

  medications at deep discounts under the 340B Program and then sold the drugs at retail

  rates.

  100. For example, in 2015, referrals from West Clinic physicians to Methodist
  generated drug profits to the hospital system of approximately $30.6 million under the

  340B Program. In 2015 referrals from West Clinic physicians to Methodist also

  generated millions of dollars in hospital revenues for inpatient admissions, outpatient

  procedures, and ancillary services for cancer treatment.

  101. In 2016, referrals from West Clinic physicians to Methodist generated drug profits
  to the hospital system of approximately $53.1 million under the 340B Program. In that

  year, referrals from West Clinic physicians to Methodist also generated millions of

  dollars in hospital revenues for inpatient admissions, outpatient procedures, and ancillary

  services for cancer treatment.

  102. In forming the alliance with West Clinic and paying massive kickbacks to West
  Clinic physicians for their referrals, Methodist targeted increased revenues from



                                              31
Case 3:17-cv-00902       Document 20        Filed 05/24/18     Page 31 of 89 PageID #: 161
  oncology services. For example, Methodist’s revenues from cancer infusion therapy

  performed at Methodist hospitals increased from $6.1 million in the first quarter of 2015

  to $10.3 million in the second quarter, $10.7 million in the third quarter, and $11.1

  million in the fourth quarter.

  103. In 2016, Methodist’s revenues from cancer infusion therapy continued rising,
  moving from $14 million in the first quarter of 2016 to $16 million in the second quarter,

  $17 million in the third quarter, and $17.6 million in the fourth quarter.

  104. Since the onset of the alliance, West Cancer Center and Methodist executives
  have regularly tracked and monitored the value of patient referrals from West Clinic

  physicians to Methodist. For example at a Methodist Strategy Committee meeting on

  August 1, 2014, top executives of Methodist met to discuss the “strategic priority” of a

  comprehensive cancer center. At this meeting, Erich Mounce, the West Cancer Center

  CEO, gave a presentation in which he stated that West Clinic physicians were “working

  on increasing admissions in all parties (MUH=4,582/ GTN=2,166/ North=937/

  South=114/ OB=23).” Mounce listed the numbers of referrals by West Clinic physicians

  for inpatient admissions at each Methodist hospital. He stated that the West Cancer

  Center was “working on increasing admissions” to Methodist hospitals. He stated that

  each 1% increase in inpatient surgeries “will bring about $1.5 million” in profits to

  Methodist.

  105. Mounce also provided the numbers of referrals by West Clinic physicians to
  Methodist for radiation therapy. In 2013, West Clinic physicians referred 1,544 patients

  to Methodist for radiation therapy. In 2014 as of August, West Clinic physicians referred

  785 patients to Methodist for radiation therapy. Mounce stated that the West Clinic



                                               32
Case 3:17-cv-00902        Document 20        Filed 05/24/18      Page 32 of 89 PageID #: 162
  “represents 59% of referrals” to Methodist for radiation therapy.

  106. Mounce also stated that “regulation changes” with the 340B Program were a
  “threat” to West Cancer Center.

  107. In response to Mounce’s presentation, Gary Shorb, the Methodist CEO, stated
  “cancer is a real opportunity for us.”

  108. During the Strategy Committee Meeting, Methodist executives discussed the fact
  that each referral for radiation therapy represented an “average contribution margin of

  $5,255 per patient per course (22-25 daily sessions).”

  109. Executives at Methodist and West Cancer Center have had an ongoing focus on
  the value of referrals from West Clinic physicians to Methodist. For example, at the

  meeting of the West Cancer Center Executive Operations Council on July 13, 2016, Erich

  Mounce, West Cancer Center CEO, and Chris McLean, Methodist CFO, “reviewed the

  first quarter financial results for the oncology service line with the committee members.”

  “Specific discussion around 340B funds and the future effect of any 340B guideline

  changes were also discussed.”12 Mounce also “discussed the great revenue results for

  medical oncology, gyn oncology, radiation oncology, and surgical oncology.” All of

  these specialties are recipients of patient referrals by West Clinic physicians.




  12 The West Cancer Center CEO repeatedly discussed the 340B Program and potential
  regulatory changes because the profits from cancer drugs sold through Methodist’s
  registration in the 340B Program were a major source of income to West Clinic
  physicians.

                                               33
Case 3:17-cv-00902        Document 20        Filed 05/24/18      Page 33 of 89 PageID #: 163
               Methodist Has Excessively Paid Many Employed Physicians


                                           Introduction

  110. Methodist’s financial strategies to boost hospital revenues were not limited to the
  “alliance” with West Clinic physicians. Methodist’s scheme has included paying

  excessive compensation to numerous employed physicians whose referrals generated

  high revenues for the hospital system.

  111. Revenues from perioperative services or ancillary revenues related to surgical
  procedures and admissions account for a major portion of annual profits at Methodist.

  Methodist’s strategy to reward physicians for referrals includes multiple specialties

  discussed below, particularly physicians in position to order inpatient admissions or

  outpatient procedures.

  112. In determining compensation, the Methodist Defendants have paid such
  physicians not based on the value of their personal services but rather based in part on the

  historical and projected value of their referrals to the hospital system. Senior executives

  have profited from this scheme to boost revenues because they are paid bonuses based in

  part on the financial performance of the hospital system. This scheme has been a

  lucrative strategy of mutual enrichment for Methodist’s senior executives and employed

  specialists, and a deliberate violation of Stark laws.




                                               34
Case 3:17-cv-00902         Document 20       Filed 05/24/18    Page 34 of 89 PageID #: 164
                  Over $180 Million in Financial Losses in Last 5 Years

  113. UTMP is one of four physician groups employed by Methodist. The other
  physician groups are Specialty Physicians Group, Primary Care Group, and Le Bonheur

  Pediatrics.

  114. For all four employed physician groups, the financial losses were approximately
  $24.4 million in 2013, $45.6 million in 2014, $43.6 million in 2015, and $42 million in

  2016.

  115. As of April of 2017, the Methodist employed physician groups were on track to
  lose approximately $54 million in that fiscal year. As of April 2017, the losses from the

  employed physician practices were as follows: $7.4 million loss for Specialty Physician

  Group, $8.1 million loss for UT Methodist Physicians, $695,000 loss for Primary Care

  Group, and $1.7 million loss for Le Bonheur Pediatrics.

  116. Prior to his departure from Methodist in September 2017, Liebman served as Co-
  Chairman of UTMP in addition to his other responsibilities as Senior Vice-President of

  Methodist Healthcare and Chief Executive Officer and then President of Methodist

  University Hospital.

  117. For 2016, the employed physicians of UTMP generated collections of
  approximately $23,289,675. (These financial figures were projected for 2016 as of

  October 2016). Yet the total operating expenses of UTMP were approximately

  $46,684,667, including physician salaries of approximately $29,165,108. In 2016, UTMP

  operated at a financial loss of approximately $24,413,859.



                                             35
Case 3:17-cv-00902       Document 20       Filed 05/24/18      Page 35 of 89 PageID #: 165
  118. The net revenue per wRVU for the employed physicians of UTMP was
  approximately $53.36 in 2016. Yet Methodist’s cost per wRVU were approximately

  $109.91.

  119. In 2014, UTMP generated patient revenue of $19.4 million. Yet their salaries
  totaled $26.5 million. Including other operating expenses of the physician practices,

  UTMP generated losses of approximately $16.1 million in 2014.

  120. In 2014, the Specialty Physician Group generated patient revenue of $19.4
  million. Yet their salaries totaled $26.8 million. Including other operating expenses of the

  physician practices, the Specialty Physician Group generated losses of approximately

  $17.2 million in 2014.

  121. In the prior year, the Specialty Physician Group generated patient revenue of
  $15.8 million. Yet their salaries totaled $22.6 million. Including other operating expenses

  of the physician practices, the Specialty Physician Group generated losses of

  approximately $14.1 million in 2013.

  122. In the past five years, the employed physicians at Methodist have generated
  financial losses in excess of $180 million if revenues from referrals are not considered.


                            Methodist Budgeted for Major Losses

  123. Financial losses related to the physician practices were not unexpected or
  unforeseen by Methodist’s executives. Year after year, Methodist’s senior strategists have

  budgeted for major losses from physician practices because their focus was revenues

  from referrals by these physicians.




                                              36
Case 3:17-cv-00902         Document 20      Filed 05/24/18      Page 36 of 89 PageID #: 166
  124. Substantial budgeted losses stem from physicians that Methodist has designated
  as the “Specialty Physician Group.” This Group has included cardiology and various

  surgical specialties.

  125. For example, in 2016, Methodist budgeted losses of $18,693,000.00 related to the
  Specialty Physician Group. Actual losses were higher at approximately $21,489,000.00.

  126. For surgical oncologists in 2016, financial losses were approximately $2,915,047
  and budgeted losses for 2017 were $3,012,851.

  127. For transplant surgeons, financial losses were approximately $3,982,365.00 in
  2016. Net patient revenue from services of employed transport surgeons totaled

  $4,795,952, yet Methodist paid its transplant surgeons approximately $6,905,388.00. For

  2017, Methodist budgeted losses of $3,985,650.00 related to the transplant surgeons.

  128. For general surgeons in 2016, financial losses were approximately $1,347,124.00.
  Net patient revenues from the general surgeons’ services were approximately

  $934,177.00 in 2016. Yet Methodist paid them $1,529,476.00. Methodist budgeted losses

  of $1,499,775 for the general surgeons in 2017 with physician salaries rising to

  $1,871,964 and anticipated net patient revenue of $1,282,568.00.

  129. For gastroenterologists in 2016, financial losses were approximately
  $1,419,812.00. The net patient revenues from physician services were approximately

  $1,051,525.00 in 2016. Yet Methodist paid the gastroenterologists $1,314,965.00.

  Methodist budgeted losses of $1,418,348.00 for the gastroenterologists in 2017.




                                             37
Case 3:17-cv-00902        Document 20      Filed 05/24/18     Page 37 of 89 PageID #: 167
  130. Methodist also budgeted for major financial losses related to its employment of
  hospitalists who are in the clinical position to order tests, studies, and ancillary services

  that generate revenues for the hospital system.

  131. At University Hospital, Methodist budgeted losses of $2,221,819.00 in 2017 for
  its employed hospitalists. In 2017 budgeted patient revenues for the hospitalists’ services

  were $1,781,229.00, while the hospitalists’ salaries were budgeted at $3,170,666.00 for

  University Hospital. In 2016, net patient revenues for the hospitalists’ services at

  University Hospital were approximately $1,789,064, while the hospitalists’ salaries were

  approximately $3,077,777.00.

  132. At North Hospital in 2017, Methodist budgeted losses of $1,400,921.00 for its
  employed hospitalists. Budgeted patient revenues for the hospitalists’ services were

  $1,319,116.00, while the hospitalists’ salaries were budgeted at $2,296,236.00 in 2017. In

  2016, net patient revenues for the hospitalists’ services at North Hospital were

  $1,324,981.00, while the hospitalists’ salaries were more than double net revenues at

  approximately $2,871,947.00.

  133. At Olive Branch Hospital, Methodist budgeted losses of $1,003,694 in 2017 for
  its employed hospitalists. Budgeted patient revenues for the hospitalists’ services were

  $644,721.00, while the hospitalists’ salaries were budgeted at $1,373,699.00 in 2017. In

  2016, net patient revenues for the hospitalists’ services at North Hospital were

  approximately $647,455.00, while the hospitalists’ salaries were nearly double net

  revenues at approximately $1,254,786.00.




                                              38
Case 3:17-cv-00902       Document 20        Filed 05/24/18      Page 38 of 89 PageID #: 168
  134. For 2014 Methodist budgeted losses of $11.7 million for UT Methodist
  Physicians. Methodist labeled the losses as “physician margin allocation” which was a

  transfer of funds by Methodist “allocated” to cover the losses from the physician

  practices.

  135. Although budgeted losses were $11.7 million for UT Methodist Physicians in
  2014, the actual losses were $16.1 million. The financial losses were broken down by

  specialty with transplant surgery leading the losses at $4.6 million. Urology generated

  losses of $1.1 million in 2014, general surgery generated losses of $1.3 million, surgical

  oncology generated losses of $1.3 million, and “hospitalist-north” generated losses of

  $1.2 million.

  136. In 2015 Methodist budgeted losses of $16.2 million for UT Methodist Physicians.
  Methodist again labeled the losses as “physician margin allocation.”

  137. Although budgeted losses were $16.2 million for UT Methodist Physicians in
  2015, the actual losses were $19.1 million. The losses were broken down by specialty

  with transplant surgery leading the losses at $2.4 million. Urology generated losses of

  $1.1 million in 2015, general surgery generated losses of $1.4 million, surgical oncology

  generated losses of $2.2 million, gastroenterology generated losses of $1.6 million,

  vascular surgery generated losses of $1.1 million, neurology generated losses of $1.1

  million, pulmonary generated losses of $1.0 million, and “hospitalist-north” generated

  losses of $1.1 million.




                                             39
Case 3:17-cv-00902          Document 20    Filed 05/24/18     Page 39 of 89 PageID #: 169
  138. The same trend of budgeted major losses continued into 2016. In 2016 Methodist
  budgeted losses of $22.7 million for UT Methodist Physicians. Methodist again labeled

  the losses as “physician margin allocation.”

  139. Although budgeted losses were $22.7 million for UT Methodist Physicians in
  2016, the actual losses were $24.3 million. The losses were broken down by specialty

  with transplant surgery again leading the losses at $3.6 million. Urology generated losses

  of $1.1 million in 2016, general surgery generated losses of $1.2 million, surgical

  oncology generated losses of $2.7 million, gastroenterology generated losses of $1.4

  million, vascular surgery generated losses of $1.8 million, neurology generated losses of

  $1.0 million, “hospitalist-north” generated losses of $2.0 million, and “hospitalist-

  university” generated losses of $2.1 million.


              Methodist Tracked and Monitored Referrals to Offset Losses

  140. Methodist’s strategy for physician compensation was to budget for major
  financial losses while tracking revenues from physician referrals that more than offset the

  losses.

  141. Methodist has established and implemented an accounting system of tracking the
  value and volume of patient referrals from every physician and physician group.

  Methodist’s executives have generated regular reports that tracked the volume and value

  of referrals each month from every employed physician or physician group. These reports

  are called “balanced scorecards” in Methodist’s accounting system.

  142. At each hospital and at each department within the Methodist system, accounting
  reports have regularly tracked the volume of patient referrals each month from all


                                              40
Case 3:17-cv-00902       Document 20        Filed 05/24/18     Page 40 of 89 PageID #: 170
  physicians. For example, in 2015, Methodist tracked referrals for radiation therapy to

  Methodist University Hospital. West Clinic physicians led all sources of patient referrals

  for radiation therapy with 656 referrals to University Hospital in 2015. In 2016, West

  Clinic physicians again led all sources of referrals to University Hospital for radiation

  therapy with 546 patient referrals to University Hospital.

  143. Each month, Methodist tracked the volume and value of patient referrals from all
  physicians. Methodist’s executives have used such referral data to determine and justify

  payments to physicians.

  144. For example, the volume and value of referrals from employed physicians was the
  focus of the Methodist “CEO Retreat” on July 11, 2014. This retreat for Methodist’s top

  executives included a slide presentation titled, “CEO Retreat Service Line Assessment.”

  The presentation focused on the values of referrals from employed physicians to

  Methodist hospitals. The analysis used 2013 data and excluded “surgery centers, West

  Clinic, hospital-based services at clinic and other freestanding systems.”

  145.    The slide presentation used the term “contribution margin” to describe the value

  of referrals from various physician specialty groups.

  146. Five specialties represented 57 percent of the value of physician referrals to the
  Methodist system: women’s health, cardiology, orthopedic/neurosurgery, oncology, and

  psychiatry. “CV [cardiovascular services] and oncology contribute the most (42% of total

  CM).”

  147. The slide presentation stated, “Sutherland and West Clinic critical to sustaining
  our margin, give their commercial base (32% Sutherland, 41% percent West).”



                                              41
Case 3:17-cv-00902       Document 20        Filed 05/24/18      Page 41 of 89 PageID #: 171
  Sutherland Cardiology is the employed cardiology group at Methodist. Commercial base

  refers to the percentage of patients with commercial insurance at Sutherland Cardiology

  and West Clinic.

  148. In 2013 the total profits from physician referrals to Methodist was $204.1 million.
  Cardiology/cardiovascular was the largest source of referrals among all physician

  specialties with $57.2 million in profits from referrals to the Methodist system,

  representing 78,284 patients. Oncology was second in the rankings of physician referrals

  by specialty with profits of $28.8 million in 2013, representing 65,557 patients.

  149.    The presentation evidenced Methodist’s extensive tracking and monitoring

  system to evaluate the volumes and values of physician referrals. That focus was the

  reason Methodist overpaid many physicians in relation to their personal productivity.

  150. Liebman attended many Physician Recruitment Committee meetings at
  Methodist. These meetings were generally held on Friday mornings every few weeks.

  Liebman attended these meetings because many physician losses were charged as

  expenses to Methodist University Hospital where Liebman served as CEO.

  151. At these meetings, Methodist executives regularly evaluated physician recruits
  based on the value of their potential referrals to the Methodist system and regularly

  prepared proformas with actual or projected revenues from referrals by physicians being

  recruited. Methodist’s executives used these proformas with historical or projected

  referral revenues to determine salary packages for physicians.

  152. The Methodist Defendants have given excessive salaries to numerous physicians
  based on the value of inpatient admissions, outpatient procedures, and related ancillary



                                              42
Case 3:17-cv-00902       Document 20        Filed 05/24/18     Page 42 of 89 PageID #: 172
  services generated by these physicians for the Methodist system. All of these physicians

  are clinical decision makers in a position to generate revenues for the hospital system

  from inpatient surgeries, outpatient procedures, tests, studies, or other ancillary services.

  153. In 2016 the Methodist Defendants paid at least 43 physicians compensation per
  wRVU in excess of the most recent national 90th percentile benchmarks published by

  MGMA. All of these physicians were clinical decision makers in a position to generate

  revenues for the hospital system from inpatient surgeries, outpatient procedures,

  laboratory tests, imaging studies, or other ancillary services.

  154. This pattern of excessive compensation to multiple physicians reflects
  Methodist’s prevalent strategy to pay physicians not simply based on their personal

  services, but rather based in part on their ability to generate revenues for the hospital

  system.


      Methodist Has Excessively Paid Cardiologists and Cardiovascular Surgeons

  155. Excessive physician compensation generally can be traced to the physician groups
  generating the highest losses each year. Such financial losses reflect physician

  compensation in excess of revenues for physician services. At Methodist, it is no

  coincidence that employed cardiologists and cardiovascular surgeons receiving the most

  excessive salaries (relative to productivity) and generating the highest losses are also the

  leading sources of profitable referrals to the Methodist system. Increasing cardiology

  referrals has been at the center of Methodist’s strategy and the major losses from over-

  compensation of cardiologists and cardiovascular surgeons evidence Methodist’s strategy

  to reward physicians in these specialties for referrals.



                                               43
Case 3:17-cv-00902        Document 20        Filed 05/24/18         Page 43 of 89 PageID #: 173
  156. Methodist has organized their employed physicians into four groups: UT
  Methodist Physicians (“UTMP”), Specialty Physician Group, Primary Care Group, and

  Le Bonheur Pediatrics. The financial losses for all four physician groups were

  approximately $24.4 million in 2013, $45.6 million in 2014, $43.6 million in 2015, and

  $42.0 million in 2016.

  157. In 2015 the losses for Specialty Physician Group were $18.6 million. In 2016 the
  losses for Specialty Physician Group were $21.4 million.

  158. Each year, the financial losses from excessively paid cardiologists have
  dominated the physician practice losses for Specialty Physician Group. From Physician

  Specialty Group in 2016, Sutherland Cardiology had $7.9 million in losses, UTMP

  Cardiology had $4.7 million in losses and CV (cardiovascular surgery) had $4.0 million

  in losses. In 2015, Sutherland Cardiology had $8.0 million in losses, UTMP Cardiology

  had $3.6 million in losses and CV (cardiovascular surgery) had $3.1 million in losses.

  159. These major losses were planned and budgeted by Methodist. In 2016, Methodist
  budgeted for financial losses from Sutherland Cardiology in the amount of $7.8 million,

  from UTMP Cardiology in the amount of $3.6 million, and from cardiovascular surgery

  in the amount of $3.1 million.

  160. These financial losses for cardiology practices were stunning in view of the
  substantial base of commercial insured patients and Medicare patients receiving cardiac

  care at Methodist as discussed at the Methodist CEO Retreat. Poor collections or indigent

  services did not explain the financial losses. Rather, the financial losses were due to




                                             44
Case 3:17-cv-00902         Document 20     Filed 05/24/18     Page 44 of 89 PageID #: 174
  excessive physician compensation that Methodist paid while its executives tracked and

  monitored lucrative revenues from physician referrals that more than offset the losses.

  161. Sutherland Cardiology has included the following physicians:

                 Interventional Cardiologists

                 Javed Abdullah
                 Keith Anderson
                 Brian Borkowski
                 Ajay Dalal
                 Claro Diaz
                 Matthew Lyons
                 Michael McDonald

                 EP cardiologists

                 Yosef Kahn
                 James Litzow
                 Mehu Patel
                 Galen Van Wyhe

                 Non-Interventional Cardiologists

                 Steve Atkins
                 Eduardo Basco
                 Beverly Daniel
                 Jack Hopkins
                 Manavjot Sidhu
                 Maureen Smithers
                 James Stamper
                 David Stewart
                 Lisa Young
  162.    UTMP Cardiology has included 11 cardiologists:


                 Interventional cardiologists

                 Shadwah Alsafwah
                 Raza Askari
                 Dwight Dishmon
                 Stevan Himmelstein
                 Uzoma Ibebougo


                                             45
Case 3:17-cv-00902       Document 20       Filed 05/24/18      Page 45 of 89 PageID #: 175
                Rami Khouzam

                EP Cardiologists

                Rajesh Kabra
                Joseph Levine

                Non-Interventional Cardiologists

                Sunil Jha
                Timothy Woods
                Neeraja Yedlapati

  163. CV has included 5 cardiovascular surgeons: Drs. Edmond Owen, Gregory Fink,
  Anthony Holden, Eva Proctor, and Samuel Robbins.

  164. Methodist’s senior management has engaged in a campaign of misinformation to
  conceal the actual compensation of employed cardiologists. Liebman attended several

  meetings in 2016 and 2017 with Bill Breen, Methodist’s Senior Vice President of

  Physician Alignment, Chris Jenkins, Executive Director of UT Methodist Physicians, and

  Dr. David Stern, Vice-Chancellor for Clinical Affairs at UT College of Medicine. In

  these meetings, Breen represented that all employed cardiologists at Methodist were paid

  $54 per wRVU. In additional meetings with Liebman and Dr. James Porterfield, Breen

  again confirmed that same rate of compensation for all employed cardiologists.

  165. The reality is that many cardiologists at Methodist have been paid at far higher
  levels. There are multiple examples of excessive compensation to employed

  interventional cardiologists, cardiovascular surgeons, and non-invasive cardiologists at

  Methodist.

  166. The compensation of Dr. Owen, a cardiovascular surgeon, is a good example of
  Methodist’s strategy to control and reward patient referrals. In 2011 and 2012, Dr.


                                            46
Case 3:17-cv-00902      Document 20       Filed 05/24/18     Page 46 of 89 PageID #: 176
  Owen’s salary in private practice was just over $400,000. Yet in 2014, Methodist hired

  Dr. Owen with a salary package of approximately $1.3 million. The reason for this triple

  increase in income was the value of his referrals to the Methodist system.

  167. Methodist gave Dr. Owen a base compensation package valued at approximately
  $1,083,000 with no productivity requirements. The compensation package included base

  salary, faculty appointment salary, quality bonus, call pay, and medical director

  payments. In addition, Methodist agreed to pay him $60 per wRVU above 11,000

  wRVUs each year.

  168. In 2013 the national 90th percentile compensation for cardiovascular surgeons was
  $1,051,084.49 according to the 2014 MGMA Survey. 13 Methodist gave Dr. Owens a

  base compensation package in excess of the national 90th percentile with no productivity

  requirements. In addition, Methodist gave him productivity incentives that would take his

  compensation far in excess of the national 90th percentile.

  169. One trick Methodist used to boost his salary package was to give him call pay of
  $850 per day for 365 days a year or $310,250. No physician can realistically take 12-hour

  call coverage every day of the year plus work a full-time schedule.

  170. The call pay was for being “on call” at Methodist North Hospital, but that hospital
  rarely has cardiovascular surgery emergencies.


  13 Each year Medical Group Management Association (“MGMA”) surveys medical
  practices nationally to obtain the most recent physician compensation and production
  data. The MGMA Physician Compensation and Production Surveys are leading
  benchmarking resources for physician compensation in the United States. The annual
  MGMA Surveys are based on physician compensation and productivity data in the prior
  year. For example, the 2017 MGMA Survey reports physician compensation data from
  2016.


                                              47
Case 3:17-cv-00902       Document 20        Filed 05/24/18      Page 47 of 89 PageID #: 177
  171. In addition to Dr. Owen, Methodist has overpaid other invasive cardiologists,
  interventional cardiologists, and cardiovascular surgeons.

  172. In 2016, Methodist hired Dr. Stevan Himmelstein, an interventional cardiologist.
  The Physician Employment Agreement does not require Dr. Himmelstein to work full-

  time and contemplates that Dr. Himmelstein would have a separate employment

  agreement “relating to Physician’s faculty appointment or other duties” with UT College

  of Medicine.

  173. For less than full-time work, Methodist agreed to pay Dr. Himmelstein a flat
  salary of $950,000.00 “guaranteed” for his first year of employment with no productivity

  requirements. This amount was at the national 90th percentile compensation for

  interventional cardiologists ($953,189.97) according to the 2017 MGMA Physician

  Survey based on 2016 data. Methodist also paid Dr. Himmelstein a “one-time retention

  bonus” of $500,000.00 payable within 30 days of the contract’s effective date.

  174. The initial term of the Agreement with Dr. Himmelstein is 5 years. After the first
  year of his employment, his compensation would supposedly be adjusted based on his

  wRVUs in relation to a threshold level of production of 17,790 wRVUs. The

  Employment Agreement requires that the wRVUs must be “personally performed” by the

  physician.

  175. The reality at Methodist is that interventional cardiologists have been commonly
  credited and compensated for the wRVUs of nurse practitioners. To manipulate physician

  compensation at excessive levels but appear to be paying physicians based on wRVUs,

  Methodist has given some cardiologists credit for the wRVUs of their nurse practitioners.



                                             48
Case 3:17-cv-00902       Document 20       Filed 05/24/18      Page 48 of 89 PageID #: 178
  This credit was a reward to the interventional cardiologists and cardiovascular surgeons

  who generated lucrative inpatient admissions and outpatient procedures for cardiac care.

  They were not paid based only on their personal productivity. Both Sutherland

  Cardiology and UTMP Cardiology have had a significant problem of inflated wRVUs

  being calculated and paid by Methodist.

  176.    As mentioned, the most recent national 90th percentile compensation for

  interventional cardiologists was $953,189.97 according to the 2017 MGMA Survey based

  on 2016 data. Yet in 2016 Methodist paid three other interventional cardiologists at

  UTMP Cardiology----Dr. Khouzam, Dr. Alsafwah, and Dr. Ibebuogu---in excess of $1

  million each. In 2016 Methodist paid $1,043,166 to Dr. Khouzam, $1,168,616 to Dr.

  Alsafwah, and $1,015,703 to Dr. Ibebuogu. Their wRVUs were reportedly in the range of

  14,557-16,340 in that year. But if the interventional cardiologists were producing at high

  levels to justify their extraordinary compensation, then UTMP Cardiology should not be

  generating such major financial losses year after year. 14

  177. In 2016, Methodist paid another interventional cardiologist, Dr. Jack Hopkins,
  $415,422.00 for only 3,450.11 wRVUs. Methodist paid him at the level of $120 per

  wRVU---above the national 90th percentile for interventional cardiologists ($94.64)

  according to the 2017 MGMA Survey based on 2016 data.

  178. In 2016, Methodist paid Dr. Levine, a cardiac electrophysiologist, $484,626.24
  for only 1,184.82 of wRVUs. His wRVUs were far below the national 10th percentile of

  wRVUs (5,741.55) according to 2017 MGMA data. He was a paid at a level of $409.03


  14In 2016 UTMP Cardiology had $4.7 million in financial losses. In the prior year,
  UTMP Cardiology had $3.6 million in financial losses.

                                              49
Case 3:17-cv-00902       Document 20        Filed 05/24/18     Page 49 of 89 PageID #: 179
  per wRVU as compared to the national 90th percentile compensation of $87.63 per

  wRVU according to the 2017 MGMA Survey.

  179. In 2016, Methodist paid Dr. Reed, a noninvasive cardiologist, $75,004.80 for only
  443.26 wRVUs. Methodist paid him at the level of $169.21 per wRVU as compared to

  the national 90th percentile of $99.77 per wRVU for noninvasive cardiologists according

  to the 2017 MGMA Survey.

  180. In 2016, Methodist paid Dr. Sidhu, a noninvasive cardiologist, $143,558.80 for
  only 196.90 wRVUs. Methodist paid him at the level of $729.09 per wRVU as compared

  to the national 90th percentile of $99.77 per wRVU for noninvasive cardiologists

  according to the 2017 MGMA Survey.

  181. In 2016, Methodist paid Dr. Yedlapati, a noninvasive cardiologist, $126,497.60
  for only 552.55 wRVUs. Methodist paid him at the level of $228.93 per wRVU as

  compared to the national 90th percentile of $99.77 per wRVU.

  182. In 2016, Methodist paid Dr. Maureen Smithers, a noninvasive cardiologist,
  $327,516.00 for 2,991.62 wRVUs (below the national 10th percentile of 3,881 wRVUs).

  Methodist paid her at the level of $109.47 per wRVU compared to the national 90th

  percentile of $99.77 per wRVU. Her compensation was excessive for a cardiologist

  producing wRVUs at a level below the national 10th percentile.

  183. With respect to all physicians within Specialty Physician Group, Methodist
  tracked the values and volumes of their patient referrals, including the value of drug

  prescription profits under the 340B Program. Within Specialty Physician Group,

  Sutherland Cardiology was the leading source of referrals for drug prescriptions leading



                                            50
Case 3:17-cv-00902      Document 20       Filed 05/24/18     Page 50 of 89 PageID #: 180
  to 340B profits of $2.27 million for Methodist in 2016. In that year Methodist budgeted

  for 340B profits from Sutherland Cardiology’s referrals in the amount of $1.9 million.




             Methodist Has Excessively Paid Transplant Surgery Physicians

  184. Among the four physician groups organized at Methodist, UT Methodist
  Physicians has also generated major financial losses from excessive physician

  compensation. For example, in 2016 Methodist budgeted losses of $22.7 million for UT

  Methodist Physicians. The actual losses were $24.3 million.

  185. The losses within UT Methodist Physicians were broken down by specialty with
  transplant surgery leading the losses at $3.6 million. Surgical oncology generated losses

  of $2.7 million, gastroenterology generated losses of $1.4 million, vascular surgery

  generated losses of $1.8 million, “hospitalist-North” generated losses of $2.0 million, and

  “hospitalist-University” generated losses of $2.1 million.

  186. Year after year, the transplant surgery group and the oncology surgery group have
  led the financial losses within UT Methodist Physicians.

  187. In the summer of 2017, Chris McLean, Chief Financial Officer at Methodist,
  wrote a report regarding the financial losses caused by over-compensation of the UTMP

  transplant surgeons.

  188. In his report, McLean wrote, “Transplant has lost $2.5 million in the first five
  months of the year and is $520,000 worse than budget.” “The practice is on track to lose

  $5.0 million for the year which will be worse than the budgeted loss of $3.9 million and

  the loss in 2016 of $3.6 million.”


                                              51
Case 3:17-cv-00902       Document 20        Filed 05/24/18      Page 51 of 89 PageID #: 181
  189. McLean listed the “key factors driving lower margin.” Three of these factors
  listed were “lower [physician] rvu’s.” “lower 340b savings,” and “higher prof fee

  expense.”

  190. The phrase “lower 340b savings” meant lower profits from prescription drugs
  written by these physicians. McLean’s analysis confirmed again Methodist’s

  compensation system that evaluated and rewarded physicians based on the value of their

  referrals, including referrals for prescription drugs under the 340B Program.

  191. The primary reason for the multi-million dollar losses of the UTMP transplant
  practice was that physician salaries far exceeded the revenues for physician services. As

  of June 2017, the transplant surgeons’ salaries were $3,791,000 while net revenues from

  their services were $2,383,000.00.

  192. This loss was budgeted and planned by Methodist. The June year-to-date
  budgeted physician salaries were $3,897,000.00 while budgeted net revenues from the

  transplant surgeons’ services were $2,692,000.00.

  193. The net revenues per physician wRVU as of June 2017 were $71.00 while the
  physician salaries per wRVU were $115.00. The budgeted revenue per physician wRVU

  was $78.00 while the budgeted physician salary per wRVU was $117.00.

  194. The significant losses from over-compensation of transplant surgeons have been
  ongoing at Methodist for numerous years. In his report, McLean listed the losses from

  prior years. In 2015, the transplant surgeons generated net revenues of $5.1 million, yet

  they were paid $7.2 million. In 2015, the transplant surgeons’ net revenue per wRVU was




                                             52
Case 3:17-cv-00902       Document 20       Filed 05/24/18      Page 52 of 89 PageID #: 182
  $83 on average, yet they were paid $121 per wRVU on average and had total practice

  expenses of $147 per wRVU. Their practice losses totaled $2.4 million in 2015.

  195. In 2016, the transplant surgeons generated net revenues of $4.7 million, yet they
  were paid $7.2 million. The transplant surgeons’ net revenue per wRVU was $76 on

  average, yet they were paid on average $122 per wRVU. Their total practice expenses

  were $159 per wRVU. Their practice losses totaled $3.63 million in 2016.

  196.     In 2015 and 2016, their salaries stayed at approximately $7.2 million regardless

  of productivity or revenues from their personal services.

  197. Even with years of significant losses from the transplant surgeons’ practice,
  Methodist budgeted bonuses of $1.075 million for these physicians in 2017.

  198. In his analysis, McLean wrote, “We are assuming the lower 340b revenues are
  due to the shortage of nephrologists and will improve when the new physicians start---is

  this a reasonable assumption?” Methodist’s executives again focused on the value of

  referrals, including the value of prescription drug referrals from nephrologists, to offset

  the planned losses from excessive physician compensation within the transplant surgery

  group.

  199. McLean further wrote, “The key issue that we have to address is that we are
  seeing lower revenues (net patient, 340b, and St. Thomas) with higher operating costs

  especially physician salaries.” “There does not appear to be enough volume to support the

  number of physicians and the physician salaries we have in several specialties.”




                                             53
Case 3:17-cv-00902       Document 20       Filed 05/24/18      Page 53 of 89 PageID #: 183
  200. This statement revealed a detrimental consequence of Methodist’s business
  model: physicians know that they are overpaid and must generate sufficient volumes of

  referrals and ancillary revenues to justify their salaries.


           Examples of Excessive Payments within Transplant Surgery Group


                                Dr. Eason---Transplant Surgeon

  201. In 2016, Methodist paid $1,699,520.00 to Dr. Eason, a transplant surgeon. Each
  year Methodist has paid this range of salary to Dr. Eason despite low personal

  productivity at the national 25th percentile level. His wRVUs were only 3,791 in 2015,

  4,370 in 2016, and budgeted at 4,369 in 2017. Methodist has paid Dr. Eason over double

  the national 90th percentile for transplant surgeons in the United States as tracked by

  MGMA ($780,817.74 in 2016 MGMA Survey and $761,134.36 in 2017 MGMA Survey).

  202. Through May of 2017, Methodist paid Dr. Eason at a level of $298 per wRVU---
  far above the most recent 2017 national 90th percentile compensation per wRVU for

  transplant surgeons ($182.35). For 2017 Methodist budgeted Dr. Eason’s salary even

  higher at $367 per wRVU.


                                 Dr. Puri---Transplant Surgeon


  203. In 2016, Methodist paid $320,004.80 to Dr. Puri who worked only 1,209.96
  wRVUs. Methodist paid Dr. Puri at a level of $264.48 per wRVU---far above the 2017

  MGMA national 90th percentile compensation per wRVU for transplant surgeons

  ($182.35). For 2017 Methodist budgeted Dr. Puri’s salary at $243 per wRVU---again far

  above the most recent national 90th percentile of $182.35.



                                                54
Case 3:17-cv-00902        Document 20         Filed 05/24/18    Page 54 of 89 PageID #: 184
         Dr. Maliakkal---- Hepatologist (Part of Transplant Surgery Group)


  204. In 2016, Methodist paid $283,854.00 to Dr. Maliakkal who worked only 569.54
  wRVUs. Methodist paid Dr. Maliakkal at a level of $498.39 per wRVU---3.97 times the

  most recent 2017 MGMA national 90th percentile compensation per wRVU for

  hepatologists ($125.30).

  205. In 2017, Dr. Maliakkal’s annualized wRVUs were 4,577 or just below the
  national 25th percentile (4,584.42), yet Methodist paid him approximately $549,993---

  above the national 75th percentile for hepatologists ($531,987.46) according to the 2017

  MGMA Survey.


         Dr. Bilal Ali, Hepatologist (Part of Transplant Surgery Group)


  206. In 2017, Methodist budgeted compensation to Dr. Ali at the rate of $271 per
  wRVU. This rate was more than double the 90th percentile compensation per wRVU for

  hepatologists ($125.30) according to the 2017 MGMA Survey.


                              Dr. Vinaya Rao, Nephrologist

  207. In 2016, Methodist paid $308,294.80 to Dr. Rao who worked 2,865.11 wRVUs.
  Methodist paid Dr. Rao at a level of $107.60 per wRVU--- above the national 90th

  percentile compensation per wRVU for nephrologists ($83.16) according to the 2017

  MGMA Survey.




                                            55
Case 3:17-cv-00902      Document 20       Filed 05/24/18     Page 55 of 89 PageID #: 185
                              Dr. Manish Talwar, Nephrologist


  208. According to McLean’s report, Methodist was on track in 2017 to pay annualized
  compensation to Dr. Talwar in the amount of $438,000. His wRVUs were annualized at

  4,896. His compensation was at the level of $89 per wRVU---above the 90th percentile

  compensation per wRVU for nephrologists ($83.16) according to the 2017 MGMA

  Survey.


                       Methodist Has Overpaid Oncology Surgeons


  209. In the summer of 2017, McLean also wrote a recent report evaluating the financial
  losses of the UT Methodist Physicians oncology surgeons.

  210. McLean began the report by stating, “Surgical Oncology in [sic] on track in 2017
  to lose $3.3 million once the cancer lift support15 is removed and the full salary costs for

  Dickson and Deneve are paid by UTMP.” “In comparison, Methodist has six employed

  general surgeons that will lose $1.5 million which is $1.8 million below the losses for the

  surgical oncology department.”

  211. For the oncology surgeons in 2017, the net revenues per wRVU were $68. Yet
  their total practice salary per wRVU was $84 and their total practice expenses per wRVU

  were $140.




  15 “Cancer lift support” refers to the massive funding Methodist has poured into the West
  Cancer Center and oncology service line. This funding is discussed in detail in Liebman’s
  original Disclosure.

                                              56
Case 3:17-cv-00902       Document 20        Filed 05/24/18      Page 56 of 89 PageID #: 186
  212. The discrepancy was worse in 2016. For the oncology surgeons in 2016, the net
  revenues per wRVU were $68. Yet their total practice salary per wRVU was $91 and

  their total practice expenses per wRVU were $147.

  213. McLean focused on the surgeons’ excessive fixed salaries that were not based on
  personal productivity. McLean wrote, “So the key conclusion that I draw from this data is

  the production levels as measure by rvus of the surgical oncologists are good but the cost

  is higher given the compensation levels and the fixed salary structure which does not

  adjust salary based on volume production.” The oncology surgeons have not been paid

  based on their personal productivity.

  214. McLean ended his report with the statement: “[W]e probably need to discuss
  compensation models and any potential concerns on comp per rvu levels.”


                 Examples of Excessive Payments to Oncology Surgeons


                                          Dr. Daugherty

  215. In 2016, Methodist paid Dr. Daugherty at a level of $477 per wRVU---4.13 times
  the national 90th percentile compensation per wRVU for oncology surgeons ($115.49)

  according to the 2017 MGMA Survey.


                                           Dr. Glazer
  216. In 2016, Methodist paid Dr. Glazer at a level of $170 per wRVU as compared to
  the MGMA national 90th percentile of $115.49 for oncology surgeons.




                                               57
Case 3:17-cv-00902       Document 20         Filed 05/24/18   Page 57 of 89 PageID #: 187
                                        Dr. Shibata

  217. According to Methodist’s 2016 statement of physician compensation and wRVUs,
  Methodist paid $453,469.60 to Dr. Shibata who generated only 2,368.18 wRVUs.

  Methodist paid Dr. Shibata at a level of $191.48 per wRVU---1.65 times the national 90th

  percentile compensation per wRVU for oncology surgeons ($115.49).

  218. According to the Chief Financial Officer’s analysis of financial losses from
  oncology surgeons, Methodist paid Dr. Shibata at a level of $152 per wRVU in 2016----

  far above the national 90th percentile compensation per wRVU for oncology surgeons

  ($115.49). Through May of 2017, Methodist paid Dr. Shibata at a level of $121 per

  wRVU.


                                        Dr. Khaled

  219. In 2016 Methodist paid $815,374.00 to Dr. Khaled, a medical oncologist who
  specializes in bone and marrow transplant procedures. His wRVUs were 4,994.35---over

  the national median of 4,442.77 but below the national 75th percentile (5,933.41)

  according to the 2017 MGMA Survey. Yet his cash compensation of $815,374.00 far

  exceeded the national 90th percentile ($646,226.73). He was paid at the level of $163.26

  per wRVU---just below the national 90th percentile of $169.34 per wRVU for medical

  oncologists according to the 2017 MGMA Survey.

  220. The compensation package paid to Dr. Khaled was a typical business strategy at
  Methodist in recruiting and compensating physicians who would generate substantial



                                            58
Case 3:17-cv-00902      Document 20       Filed 05/24/18     Page 58 of 89 PageID #: 188
  revenues to the hospital system. On July 24, 2014, Liebman attended a dinner meeting to

  help recruit Dr. Khaled from Orlando. After the meeting, Donna Abney, Executive Vice-

  President of Methodist, and Michael Ugwueke, the Chief Operating Officer at the time,

  informed Liebman that Dr. Khaled would be paid in excess of fair market value and

  because his practice would lose money, the losses would be kept out of the financial

  statements for West Cancer Center, and instead his salary and losses would be allocated

  to the employed medical group for Methodist University Hospital. Liebman objected that

  this approach did not make sense and requested to see Dr. Khaled’s final employment

  contract before it was signed. Liebman’s objection and request were ignored.

  221. In the Physician Employment Agreement with Dr. Khaled effective May 1, 2015,
  there is no requirement regarding Dr. Khaled’s productivity. There is no contract

  provision requiring Dr. Khaled to work any set hours or days or produce any level of

  wRVUs. The Physician Employment Agreement simply states, “Physician agrees to

  devote substantial time and energy from and after the Effective Date to the delivery of

  patient care services…” (Physician Employment Agreement, Par. 1, p. 1). Yet his cash

  compensation was set at $800,000 in year one of his contract and $850,000 in years two

  and three.

  222. Gary Shorb, the former Chief Executive Officer of Methodist, authorized and
  directed the excessive payments to Dr. Khaled because of the hospital system’s lucrative

  revenues from his referrals for bone marrow transplant procedures and admissions.




                                            59
Case 3:17-cv-00902      Document 20       Filed 05/24/18     Page 59 of 89 PageID #: 189
                          Methodist Excessively Paid Hospitalists


  223. As mentioned above, among the four physician groups organized at Methodist,
  UT Methodist Physicians has also generated major financial losses from excessive

  physician compensation. For example, in 2016 Methodist budgeted losses of $22.7

  million for UT Methodist Physicians. The actual losses were $24.3 million.

  224. The losses within UT Methodist Physicians were broken down by specialty with
  transplant surgery leading the losses at $3.6 million. Surgical oncology generated losses

  of $2.7 million, gastroenterology generated losses of $1.4 million, vascular surgery

  generated losses of $1.8 million, “hospitalist-North” generated losses of $2.0 million, and

  “hospitalist-University” generated losses of $2.1 million.

  225. “Hospitalist-North” refers to the hospitalists employed by Methodist at Methodist
  North Hospital in Memphis. “Hospitalist-University” refers to Methodist University

  Hospital where Liebman served as Chief Executive Officer and President.

  226. Hospitalists or internal medicine physicians are commonly responsible for
  ultimately deciding whether a patient should be admitted to a hospital. See Medicare

  Benefit Policy Manual 100-02, Ch. 1, Sec. 10. The model for determining inpatient

  admissions at Methodist hospitals commonly revolves around the decision-making of

  hospitalists or internal medicine physicians. Methodist has excessively paid many

  employed hospitalists as rewards and inducements for ordering increased admissions to

  the hospital system.




                                              60
Case 3:17-cv-00902       Document 20        Filed 05/24/18     Page 60 of 89 PageID #: 190
                      Examples of Excessive Payments to Hospitalists
  227. There are numerous examples of excessive payments by Methodist to employed
  hospitalists and internal medicine physicians.

  228. In 2016 Methodist paid $219,781.88 to Dr. Brown, an internist, for only 41.75 of
  wRVUs. Dr. Brown was paid on the level of $5,268.02 per wRVU. In 2016 the national

  90th percentile compensation per wRVU for internal medicine was $86.66 according to

  the 2017 MGMA Survey.

  229. In 2016 Methodist paid $103,074.00 to Dr. Johnson, an internist, for only 717.05
  wRVUs. Dr. Johnson was paid on the level of $143.75 per wRVU as compared to the

  national 90th percentile compensation per wRVU of $86.66 for internal medicine

  according to the 2017 MGMA Survey.

  230. In 2016 Methodist paid $205,271.52 to Dr. Edwards, an internist, for only
  1,648.83 wRVUs. Dr. Edwards was paid on the level of $124.50 per wRVU as compared

  to the national 90th percentile compensation per wRVU of $86.66 for internal medicine.

  231. In 2016 Methodist paid $347,678 to Dr. Mancell, a hospitalist. His wRVUs were
  only 1,577.73---less than the national 10th percentile. Yet his compensation exceeded the

  national 75th percentile for hospitalists ($337,051.35) according to the 2017 MGMA

  Survey based on 2016 data. His compensation per wRVU was $220.37 as compared to

  the national 90th percentile of $125.78 for hospitalists.

  232. In 2016 Methodist paid $237,684.00 to Dr. Okafor, a hospitalist. Her wRVUs
  were only 1,590.28---less than the national 10th percentile. Her compensation per wRVU

  was $149.46 as compared to the national 90th percentile of $125.78 for hospitalists.



                                               61
Case 3:17-cv-00902        Document 20        Filed 05/24/18    Page 61 of 89 PageID #: 191
                                      Applicable Laws
                            Introduction to Federal Stark Laws

  233. Enacted in 1989 to contain health care costs and reduce conflicts of interests, the
  Stark laws generally prohibit physicians from referring 16 their Medicare patients to

  business entities, such as hospitals or laboratories, with which the physicians or their

  immediate family members have a “financial relationship.” 42 U.S.C. §1395nn(a)(1); see

  generally 42 C.F.R. §§ 411.350-.389 (“Subpart J---Financial Relationships Between

  Physicians and Entities Furnishing Designated Services”). Subsequent amendments later

  extended certain aspects of Stark Laws to Medicaid patients. See 42 U.S.C. §1396b(s).

  234. The statute and regulations further prohibit any entity from submitting a Medicare
  claim for services rendered pursuant to a prohibited referral, 42 U.S.C. §1395nn(a)(1)(B);

  42 C.F.R. §411.353(b), prohibit Medicare from paying any such claims, 42 U.S.C.

  §1395nn(g)(1); 42 C.F.R. §411.353(c), and require an entity that receives payment for

  such a claim to reimburse the funds to the United States, 42 C.F.R. §411.353(d).

  235. The Stark laws define a “financial relationship” to include a “compensation
  arrangement,” 42 U.S.C. §1395nn(a)(2), which means “any arrangement involving any




  16  The Stark Statute defines "referral" as "the request or establishment of a plan of care
  by a physician which includes the provision of designated health services." 42 U.S.C. §
  1395nn (h) (5) (A). The accompanying regulations also broadly define "referral" as,
  among other things, "a request by a physician that includes the provision of any
  designated health service for which payment may be made under Medicare, the
  establishment of a plan of care by a physician that includes the provision of such a
  designated health service, or the certifying or recertifying of the need for such a
  designated health service . . . ." 42 C.F.R § 411.351. A referring physician is defined in
  the same regulation as "a physician who makes a referral as defined in this section or who
  directs another person or entity to make a referral or who controls referrals made to
  another person or entity." Id.


                                             62
Case 3:17-cv-00902       Document 20       Filed 05/24/18      Page 62 of 89 PageID #: 192
  remuneration between a physician (or an immediate family member of such physician)

  and an entity.” See 42 U.S.C. §1396nn(H)(1)(A).

  236. In turn, “remuneration” is broadly defined to include “any remuneration, directly
  or indirectly, overtly or covertly, in cash or in kind.” 42 U.S.C. §1395nn(h)(1)(B); see

  also 42 C.F.R. §411.351 (“Remuneration means any payment or other benefit made

  directly or indirectly, overtly or covertly, in cash or in kind”).

  237. Congress enacted the Stark Statute in two parts, commonly known as Stark I and
  Stark II. Enacted in 1989, Stark I applied to referrals of Medicare patients for clinical

  laboratory services made on or after January 1, 1992 by physicians with a prohibited

  financial relationship with the clinical lab provider. See Omnibus Budget Reconciliation

  Act of 1989, P.L. 101-239, § 6204.

  238. In 1993, Congress extended the Stark Statute (Stark II) to referrals for ten
  additional designated health services. See Omnibus Reconciliation Act of 1993, P.L. 103-

  66, § 13562, Social Security Act Amendments of 1994, P.L. 103-432, § 152. As of

  January 1, 1995, Stark II applied to patient referrals by physicians with a prohibited

  financial relationship for the following ten additional “designated health services”: (1)

  inpatient and outpatient hospital services; (2) physical therapy; (3) occupational therapy;

  (4) radiology; (5) radiation therapy (services and supplies); (6) durable medical

  equipment and supplies; (7) parenteral and enteral nutrients, equipment and supplies; (8)

  prosthetics orthotics, and prosthetic devices and supplies; (9) outpatient prescription

  drugs; and (10) home health services. See 42 U.S.C. § 1395nn(h)(6).

  239. As discussed above, Methodist entered into a Professional Services Agreement
  with West Clinic physicians effective December 31, 2011. The Agreement has an initial



                                                63
Case 3:17-cv-00902        Document 20         Filed 05/24/18       Page 63 of 89 PageID #: 193
  term of seven years ending on December 31, 2018.

  240. Stark laws establish the requirements for an entity providing remuneration or any
  benefit to a physician through a “personal service arrangement.” Among those

  requirements, the remuneration over the term of the arrangement “is set in advance,”

  “does not exceed fair market value,” and “is not determined in a manner that takes into

  account the volume and value of any referrals or other business generated between the

  parties.” See 42 U.S.C.S. §1395nn(e)(3)(A)(v); 42 C.F.R. §411.357 (d)(1)(v).

  241. Any remuneration or benefit given by a hospital to a physician must be based
  solely on the physician’s personal labor. In pertinent part, the statutory language focuses

  on “the fair market value of the services” personally performed by the physician. 42

  U.S.C.S. § 1395nn (e)(2). The Stark law prohibits a hospital from offering or giving

  remuneration or benefits to referring physicians “in a manner that takes into account

  (directly or indirectly) the volume or value of any referrals by the referring physician.” 42

  U.S.C.S. §1395nn(e)(2).

  242. The Stark law also requires that physician remuneration must be “provided
  pursuant to an agreement which would be commercially reasonable even if no referrals

  were made” to the hospital. 42 U.S.C.S. § 1395nn (e)(2).

  243. A hospital employing a physician who makes referrals to that hospital of
  Medicare and Medicaid patients must satisfy the statutory requirements for "bona fide

  employment relationships." Under the Stark laws, a “bona fide employment relationship”

  must satisfy the following four relevant requirements: (1) the “employment is for

  identifiable services,” (2) “the amount of the remuneration under the employment...is

  consistent with the fair market value of the services” personally provided by the



                                              64
Case 3:17-cv-00902       Document 20        Filed 05/24/18      Page 64 of 89 PageID #: 194
  physician, (3) the remuneration “is not determined in a manner that takes into account

  (directly or indirectly) the volume or value of any referrals by the referring physician,”

  and (4) “the remuneration is provided pursuant to an agreement which would be

  commercially reasonable even if no referrals were made to the employer.” 42 U.S.C.S. §

  1395nn (e)(2).

  244. Stark laws also establish that when a hospital leases office space to referring
  physicians, “the space rented or leased does not exceed that which is reasonable and

  necessary for the legitimate business purpose of the lease arrangement” and the “rental

  charges” must be “consistent with fair market value.” See 42 C.F.R. §411.357(a)(3) and

  (4). The “lease arrangement [must] be commercially reasonable even if no referrals were

  made between the lessee and the lessor.” See 42 C.F.R. §411.357(a)(6)

  245. Methodist has repeatedly and deliberately violated these well-established
  requirements of federal Stark laws.

  246. Once the plaintiff or the government has established proof of each element of a
  Stark violation, the burden shifts to the defendant to establish that the conduct was

  protected by an exception.17 If no exception applies to a Stark violation, then all referrals


  17      Among the multiple requirements of the “academic medical center” safe harbor
  provided in Stark regulations, the referring physician must be a bona fide full-time or
  “substantial” part-time employee of the center. See 42 C.F.R. §411.355(e)(1)(i)(A). West
  Clinic physicians are a private practice group. They are not employees of any academic
  medical center.
          For employees of an academic medical center, the total compensation at the
  center cannot “exceed the fair market value of all of the services provided” and cannot be
  “determined in a manner that takes account the volume or value of any referrals.” See 42
  C.F.R. §411.355(e)(1)(ii). Even if Methodist could qualify as an academic medical
  center, Methodist has repeatedly violated these regulatory requirements under the Stark
  laws. Methodist has repeatedly paid physicians in excess of fair market values based in
  part on the volume and value of their referrals or ability to generate revenues for the
  hospital system.

                                              65
Case 3:17-cv-00902       Document 20        Filed 05/24/18      Page 65 of 89 PageID #: 195
  from the referring physician to the DHS entity are subject to prohibition.


                      Introduction to Federal Anti-Kickback Statute

  247. The AKS prohibits “knowingly and willfully” offering or paying remuneration to
  induce a referral “for an time or service for which payment may be made in whole or in

  part under a Federal health care program.” 42 U.S.C. § 1320a-7b(b).

  248. The AKS specifies that “remuneration” includes “any kickback, bribe or rebate”
  and broadly applies to benefits provided “directly or indirectly, overtly or covertly, in

  cash or in kind.” 42 U.S.C. §1320a-7b(b)(1) & (2). “Remuneration” is defined elsewhere

  to include “transfers of items or services for free or for other than fair market value.” 42

  U.S.C. §1320a-7a(i)(6). Courts have construed this definition to include intangible

  remuneration, such as the opportunity to earn a fee.

  249. The AKS arose out of Congressional concern that financial inducements to those
  who can influence health care decisions would result in goods and services being

  provided that are medically unnecessary, too costly, of poor quality or even harmful to a

  vulnerable patient population.



           Likewise, West Cancer Center cannot qualify as a component of an “academic
  medical center.” The regulations define component of an academic medical center as “an
  affiliated medical school, faculty practice plan, hospital, teaching facility, institution of
  higher education, departmental professional corporation, or nonprofit support
  organization whose primary purpose is supporting the teaching mission of the academic
  medical center.” See 42 C.F.R. §411.355(e)(1)(i)(A). The primary purpose of West
  Cancer Center is not “supporting the teaching mission of an academic medical center.”
           Among other requirements, all transfers of money between components of the
  center must “directly or indirectly support the missions of teaching, indigent care,
  research, or community service.” See 42 C.F.R. §411.355(e)(1)(iii)(A). In this case,
  Methodist has transferred massive amounts of money to West Clinic physicians not for
  the purposes of teaching or indigent care, research or community service---but rather to
  reward and enrich private physicians for their referrals to the hospital system.


                                              66
Case 3:17-cv-00902       Document 20        Filed 05/24/18      Page 66 of 89 PageID #: 196
  250. The AKS was based in part on studies demonstrating that physicians, even those
  intending to act in good faith, were likely to refer significantly more patients when there

  was a financial incentive to generate business.

  251. To protect the integrity of federal health care programs, and realizing the
  difficulty of regulators and law enforcement to review every case for medically

  unnecessary procedures, Congress enacted a per se prohibition against financial

  inducements in any form, regardless of whether the particular kickback gave rise to

  overutilization or poor quality of care.

  252. First enacted in 1972, Congress strengthened the statute in 1977 and 1987 to
  ensure that financial inducements masquerading as legitimate transactions did not evade

  its reach. See Social Security Amendments of 1972, Pub. L. No. 92-603, §§ 242(b) and

  (c); 42 U.S.C. § 1320a-7b, Medicare-Medicaid Anti-fraud and Abuse Amendments, Pub.

  L. No. 95-142; Medicare and Medicaid Patient and Program Protection Act of 1987, Pub.

  L. No. 100-93.

  253. The AKS prohibits a hospital from offering “any remuneration…directly or
  indirectly, overtly or covertly, in cash or in kind to any person to induce such person

  to…refer an individual to a person for the furnishing or arranging for the furnishing of

  any item or service for which payment may be made in whole or in part under a Federal

  health care program.” 42 U.S.C. § 1320a-7b(b).

  254. The AKS broadly prohibits the exchange of referrals for remuneration, which is
  defined to include “any kickback, bribe, or rebate, directly or indirectly, overtly or

  covertly, in cash or in kind.” See 42 U.S.C. §1320a-7b(b)(1).

  255. Under federal law, if any one purpose of remuneration is to induce or reward


                                               67
Case 3:17-cv-00902        Document 20        Filed 05/24/18    Page 67 of 89 PageID #: 197
  referrals, the AKS is violated.

  256. The AKS has two separate liability provisions, the violation of either of which
  subjects a person to liability. See 42 U.S.C. § 1320a-7b(b)(1)(A) (prohibiting the

  solicitation and receipt of remuneration in exchange for referrals; 42 U.S.C. §1320a-

  7b(b)(2)(A) (prohibiting the offer or payment of remuneration to induce referrals). The

  AKS is violated if a hospital knowingly and willfully offered remuneration to induce

  referrals even if the doctors were not actually induced. See 42 U.S.C. §1320a-7b(b)(2)(A)

  (prohibiting the offer or payment of remuneration for the purpose of inducing referrals).

  Under the AKS, any amount of inducement is illegal.

  257. Violation of the AKS may subject the perpetrator to exclusion from participation
  in federal health care programs, civil monetary penalties of $50,000 per violation, and

  three times the amount of remuneration paid, regardless of whether any part of the

  remuneration is for a legitimate purpose. See 42 U.S.C. § 1320-7(b) (7) and 42 U.S.C. §

  1320a-7a (a) (7).

  258. Any party convicted under the AKS must be excluded from federal health care
  programs for a term of at least five years. See 42 U.S.C § 1320a-7(a)(1). Even without a

  conviction, if the Secretary of HHS finds administratively that a provider has violated the

  statute, the Secretary may exclude that provider from federal healthcare programs for a

  discretionary period and may consider imposing administrative sanctions of $50,000 per

  kickback violation. See 42 U.S.C. § 1320a-7(b).

  259. Compliance with the AKS is a prerequisite to a provider’s right to receive and
  retain payments from Medicare, Medicaid and other federal health care programs.

  Similarly, compliance with the federal AKS and comparable state anti-kickback statutes



                                             68
Case 3:17-cv-00902       Document 20       Filed 05/24/18      Page 68 of 89 PageID #: 198
  is a prerequisite to a provider’s right to receive and retain payments from state-funded

  health care programs.

  260. Claims for payment for services tainted by financial inducements for referrals
  prohibited by the AKS are false or fraudulent under the False Claims Act because

  providers of such services are ineligible to participate in government health care

  programs, and the government would not have paid such claims had it known of the

  inducements for referrals. See 31 U.S.C. §§ 3729(a) & (b); 42 U.S.C. §§ 1320a-7b(b), (f)

  & (g).

  261. Effective March 23, 2010, the Patient Protection and Affordable Care Act
  confirmed that claims submitted in violation of the AKS automatically constitute false

  claims for purposes of the False Claims Act. The statute states, “[A] claim that includes

  items or services resulting from a violation of [the AKS] constitutes a false or fraudulent

  claim for purposes of subchapter III of chapter 37 of Title 31 [the False Claims Act].” 42

  U.S.C. § 1320a-7b(g).

  262. Congress also eliminated the requirement that a person have actual knowledge of
  the law or specific intent to commit a violation of the statute. See 42 U.S.C. § 1320a-

  7b(h).


           Compliance with Stark and AKS Is Condition of Each Federal Payment

  263. Compliance with the AKS and Stark laws is a mandatory condition of healthcare
  providers’ enrollment in federal health care programs, a mandatory condition of every

  claim submitted by providers to federal health care programs, and a mandatory condition

  of every payment made to providers by federal health care programs.

  264. Federal health care programs include patients covered under Medicare, Medicaid,


                                             69
Case 3:17-cv-00902        Document 20      Filed 05/24/18      Page 69 of 89 PageID #: 199
  or TRICARE in addition to federal employees and retired federal employees.


              Compliance with AKS and Stark is Condition of Each Medicare
                                      Payment

  265. Medicare covers the costs of certain medical services for persons aged 65 years or
  older and those with disabilities.

  266. Medicare is divided into four parts. Medicare Part A authorizes payment for
  institutional care, including hospital, skilled, nursing facility, and home health care. See

  42 U.S.C. §§ 1395c-1395i-4. Part B authorizes payment for outpatient health care

  expenses, including physician fees. See 42 U.S.C. §§ 1395-1395w-4.

  267. HHS is responsible for the administration and supervision of Medicare. The
  Centers for Medicare and Medicaid Services (“CMS”) is an agency of HHS and is

  directly responsible for the administration of Medicare.

  268.      CMS makes Medicare payments retrospectively to hospitals for inpatient

  services. Medicare enters into provider agreements with hospitals to establish the

  hospitals’ eligibility to participate in Medicare. Medicare does not prospectively contract

  with hospitals to provide particular services for particular patients. Any benefits derived

  from those services are derived solely by the patients and not by Medicare or the United

  States.

  269.      Each Defendant has executed at least one provider agreement with CMS in which

  they agreed to abide by the Medicare laws, regulations and program instructions…”

  CMS Provider/Supplier Enrollment Application, Forms 855-A and 855-B.                 In the

  provider agreement, each Defendant certified its understanding “that payment of a claim

  by Medicare is conditioned upon the claim and the underlying transaction complying



                                              70
Case 3:17-cv-00902        Document 20       Filed 05/24/18      Page 70 of 89 PageID #: 200
  with such laws, regulations and program instructions (including, but not limited to, the

  Federal anti-kickback statute and the Stark law)…” Id.

  270. Upon discharge of Medicare beneficiaries from a hospital, the hospital submits
  claims for interim reimbursement for items and services provided to those beneficiaries

  during their hospital stays. See 42 C.F.R. §§ 413.1, 413.60, 413.64. Hospitals submit

  patient-specific claims for interim payments electronically on a CMS UB-04 Form.

  271. The UB-04 Form contains the following notice in bold capital letters: “THE
  SUBMITTER OF THIS FORM UNDERSTANDS THAT MISREPRESENTATION OR

  FALSIFICATION OF ESSENTIAL INFORMATION AS REQUESTED BY THIS

  FORM, MAY SERVE AS THE BASIS FOR CIVIL MONETARY PENALTIES AND

  ASSESSMENTS AND MAY UPON CONVICTION INCLUDE FINES AND/OR

  IMPRISONMENT UNDER FEDERAL AND/OR STATE LAW(S).”

  272. The UB-04 Form requires the provider to certify the following:

                       “Submission of this claim constitutes certification that the billing
                        information as shown on the face hereof is true, accurate and
                        complete. That the submitter did not knowingly or recklessly
                        disregard or misrepresent or conceal material facts.”
                       “For Medicaid Purposes: The submitter understands that because
                        payment and satisfaction of this claim will be from Federal and
                        State funds, any false statements, documents, or concealment of a
                        material fact are subject to prosecution under applicable Federal or
                        State Laws.”
                       “For TRICARE Purposes: The information on the face of this
                        claim is true, accurate and complete to the best of the submitter’s
                        knowledge and belief, and services were medically [sic] and
                        appropriate for the health of the patient.”

  273.    As a condition of payments by Medicare, CMS also requires hospitals to submit

  annually a Form CMS-2552, more commonly known as the hospital cost report. A cost

  report is the final claim that a provider submits to the fiscal intermediary for items and



                                             71
Case 3:17-cv-00902       Document 20       Filed 05/24/18     Page 71 of 89 PageID #: 201
  services rendered to Medicare beneficiaries.

  274.    After the end of each hospital’s fiscal year, the hospital files its cost report with

  the fiscal intermediary, stating the amount of reimbursement the provider believes it is

  due for the year. See 42 U.S.C. § 13959g); 42 C.F.R. § 413.20. Medicare relies upon the

  cost report to determine whether the provider is entitled to more reimbursement than

  already received through interim payments, or whether the provider has been overpaid

  and must reimburse Medicare. 42 C.F.R. §§ 405.1803, 413.60 and 413.64(f) (1).

  275. Each cost report contains mandatory certifications of compliance with the AKS
  and Stark laws. Each hospital cost report contains a “Certification” that must be signed

  by the chief administrator of the hospital provider or a responsible designee of the

  administrator.

  276. For each of the fiscal years between 2012 and the present, each cost report
  certification page submitted by the Methodist Defendants included the following notice:

  “Misrepresentation or falsification of any information contained in this cost report may

  be punishable by criminal, civil, and administrative action, fine and/or imprisonment

  under Federal law. Furthermore, if services provided in this report were provided or

  procured through the payment directly or indirectly of a kickback or where

  otherwise illegal, criminal, civil and administrative action, fines and/or

  imprisonment may result.” (Emphasis added).

  277. On each cost report for each fiscal year from 2012 through the present, the
  responsible officer(s) on behalf of the Methodist Defendants certified as follows: “I

  hereby certify that I have read the above statement [paragraph above] and that I have

  examined the accompanying electronically filed or manually submitted cost report….and



                                              72
Case 3:17-cv-00902       Document 20        Filed 05/24/18      Page 72 of 89 PageID #: 202
  that to the best of my knowledge and belief, it [the cost report] is a true, correct, and

  complete statement prepared from the books and records of the provider in accordance

  with applicable instructions, except as noted. I further certify that I am familiar with

  the laws and regulations regarding the provision of health care services, and that the

  services identified in this cost report were provided in compliance with such laws

  and regulations.” (Emphasis added).

  278.    The Methodist Defendants were required to certify that their filed cost reports

  were (1) truthful, i.e., that the cost information contained in the report is true and

  accurate, (2) correct, i.e., that the provider is entitled to reimbursement for the reported

  costs in accordance with applicable instructions, (3) complete, i.e., that the cost report is

  based upon all knowledge known to the provider, (4) that the services provided in the

  cost report were not linked to kickbacks, and (5) that the provider complied with

  laws and regulations regarding the provision of health care services, such as the

  Stark laws and AKS.

  279. In the months following the end of each fiscal year, the Methodist Defendants
  submitted annual cost reports to CMS and attested to the certifications stated above. The

  Methodist Defendants submitted cost reports with the certifications stated above for

  Fiscal Years 2012, 2013, 2014, 2015, 2016, and 2017.

  280.    In addition to the in-patient fees billed by hospitals, physicians also separately

  bill for their services provided to Medicare patients under Part B. Physicians and

  physician groups submit Form CMS-1500 for this purpose.

  281.    Form CMS-1500 requires the physician to certify that he or she “understand(s)

  that payment and satisfaction of this claim will be from Federal and State funds, and that



                                              73
Case 3:17-cv-00902       Document 20        Filed 05/24/18      Page 73 of 89 PageID #: 203
  any false claims, statements, or documents, or concealment of a material fact, may be

  prosecuted under applicable Federal or State laws.”

  282. Between 2012 and the present, West Clinic physicians and West Cancer Center
  submitted thousands of CMS-1500 forms to CMS for Medicare payments. In the CMS-

  1500 forms, West Clinic physicians and West Cancer Center certified that they were

  eligible for participation in Medicare and that they complied with all applicable

  regulations and laws governing Medicare, including the Stark laws and AKS.


             Compliance with AKS and Stark is Condition of Each Medicaid
                                     Payment

  283. Medicaid is a joint federal-state program that provides health care benefits
  primarily for the poor and disabled. Medicaid is authorized under Title XIX of the Social

  Security Act and is administered by each State in compliance with Federal requirements

  specified in the Medicaid statute and regulations. “The States operate Medicaid programs

  in accordance with Federal laws and regulations and with a State plan that we approve.”

  66 Federal Register 857.

  284. The federal Medicaid statute sets forth minimum requirements for state Medicaid
  programs to qualify for federal funding, which is called federal financial participation

  (FFP). 42 U.S.C. §§1396, et seq. As part of such minimum requirements, each state’s

  Medicaid program must cover hospital and physician services. See 42 U.S.C. § 1396a

  (10)(A), 42 U.S.C. § 1396d (a)(1)-(2), (5).

  285. The federal matching rate for TennCare (the Tennessee Medicaid Program) is
  approximately 65 percent.




                                              74
Case 3:17-cv-00902       Document 20        Filed 05/24/18    Page 74 of 89 PageID #: 204
  286. Tenncare's Master Contract for all managed care organizations requires
  compliance with Stark laws and the AKS as a condition of payment to Medicaid

  providers. Each claim submitted by providers to TennCare “constitutes a certification

  that the provider, subcontractor or any other entity has complied with all applicable

  Medicaid laws, regulations and program instructions (including, but not limited to, the

  Federal anti-kickback statute and the Stark law), in connection with such claims and the

  services provided therein.” TennCare Master Contract, Paragraph 2.12.9.40.

  287. In Tennessee, provider hospitals participating in the Medicaid Program file annual
  cost reports with the State’s Medicaid agency, or its intermediary, in a protocol similar to

  that governing the submission of Medicare cost reports.         Medicaid providers must

  incorporate the same type of financial data in their Medicaid cost reports as contained in

  their Medicare cost reports.

  288. Within such Medicaid cost reports, hospitals must certify the accuracy of the
  information provided and certify compliance with Medicaid laws and regulations,

  including compliance with the AKS and Stark laws.

  289. The Tennessee Medicaid Program uses the Medicaid patient data in the cost
  reports to determine the payments due each facility.

  290. The Methodist Defendants submitted claims to Medicaid that were based in part
  on their Medicaid cost reports and their false certifications of compliance with the AKS

  and Stark laws. The Tennessee Medicaid Program relied upon such certifications as

  mandatory conditions of payment before paying such claims.




                                              75
Case 3:17-cv-00902       Document 20        Filed 05/24/18      Page 75 of 89 PageID #: 205
               Compliance with AKS and Stark is Condition of Each TRICARE
                                        Payment


  291. The Methodist Defendants also enrolled in and sought payments from the Civilian
  Health and Medical Program of the Uniformed Services, known as TRICARE

  Management Activity/CHAMPUS (“TRICARE/CHAMPUS”).

  292. TRICARE is a federally funded program that provides medical benefits, including
  hospital services, to certain relatives of active duty, deceased, and retired service

  members or reservists, as well as to retirees. TRICARE sometimes provides for hospital

  services at non-military facilities for active duty service members as well. See 10 U.S.C.

  §§ 1071-1110; 32 C.F.R. § 199.4(a). Methodist has received revenue from the TRICARE

  Program.

  293.       In addition to individual patient costs, TRICARE pays hospitals for two types of

  costs, both based on the Medicare cost report: capital costs and direct medical education

  costs. See 32 C.F.R. § 199.6.

  294.       A provider seeking reimbursement from TRICARE for these costs is required to

  submit a TRICARE form, “Request for Reimbursement of CHAMPUS Capital and

  Direct Medical Education Costs” (“Request for Reimbursement”), in which the provider

  sets forth the number of patient days and financial information related to these costs.

  These costs are derived from the provider’s Medicare cost report.

  295.       The Request for Reimbursement requires that the provider certify that the

  information contained therein “is accurate and based upon the hospital’s Medicare cost

  report.”



                                               76
Case 3:17-cv-00902         Document 20       Filed 05/24/18     Page 76 of 89 PageID #: 206
  296.    Upon receipt of a provider’s Request for Reimbursement, TRICARE or its fiscal

  intermediary applies a formula for reimbursement wherein the provider receives a

  percentage of its capital and medical education costs equal to the percentage of

  TRICARE patients in the hospital.

  297.    The Methodist Defendants submitted Requests for Reimbursement to TRICARE

  that were based on their Medicare cost reports. Whenever the Medicare cost reports of

  Methodist contained false information or false certifications from which they derived

  their Requests for Reimbursement submitted to TRICARE, those Requests for

  Reimbursement were also false.

  298. On each occasion when Methodist’s Requests for Reimbursement were false due
  to falsity in its Medicare cost reports, Methodist falsely certified that the information

  contained in its Requests for Reimbursement was “accurate and based upon the hospital’s

  Medicare cost report.”

  299. The Methodist Defendants knew that false claims contained in their Medicare cost
  reports would affect TRICARE/CHAMPUS payments as well and result in damages to

  the federal government.


                               The Federal False Claims Act

  300.    The False Claims Act establishes liability, inter alia, for anyone who

  "knowingly presents, or causes to be presented, to an officer or employee of the United

  States Government . . . a false or fraudulent claim for payment or approval," 31 U.S.C. §

  3729(a)(1)(A), or "knowingly makes, uses, or causes to be made or used, a false record or




                                            77
Case 3:17-cv-00902         Document 20    Filed 05/24/18      Page 77 of 89 PageID #: 207
  statement material 18 to a false or fraudulent claim,” 31 U.S.C. § 3729(a)(1)(B), or

  "knowingly makes, uses, or causes to be made or used, a false record or statement material

  to an obligation to pay or transmit money or property to the Government, or knowingly

  conceals or knowingly and improperly avoids or decreases an obligation19 to pay or transmit

  money or property to the Government.” 31 U.S.C. § 3729(a)(1)(G).

  301.    The False Claims Act defines “claim” to include “any request or demand,

  whether under a contract or otherwise, for money or property and whether or not the

  United States has title to the money or property, that…is presented to an officer,

  employee or agent of the United States…or is made to a contractor, grantee or other

  recipient, if the money or property is to be spent on the Government’s behalf or to

  advance a Government program, and if the United States Government…provides or has

  provided any portion of the money or property requested or demanded…or will

  reimburse such contractor, grantee, or other recipient for any portion of the money or

  property which is requested or demanded.” 31 U.S.C. § 3729(b)(2).

  302.    Statutory liability under the False Claims Act includes a civil penalty “not less

  than $5,500 and not more than $11,000” per false claim “plus 3 times the amount of

  damages which the Government sustains because of the act of that person.” 31 U.S.C. §

  3729(a).

  303.    Under the federal False Claims Act, “’knowing’ and ‘knowingly’ mean that a

  18
    “The term ‘material’ means having a natural tendency to influence. Or be capable of
  influencing, the payment or receipt of money or property.” 31 U.S.C. § 3729(b)(4).
  19
     The False Claims Act defines “obligation” as “an established duty, whether or not
  fixed, arising from an express or implied contractual, grantor-grantee, or licensor-licensee
  relationship, from a fee-based or similar relationship, from statute or regulation, or from
  the retention of any overpayment.” 31 U.S.C. § 3729(b)(3).



                                              78
Case 3:17-cv-00902       Document 20        Filed 05/24/18      Page 78 of 89 PageID #: 208
  person, with respect to information (1) has actual knowledge of the information; (2) acts

  in deliberate ignorance of the truth or falsity of the information; or (3) acts in reckless

  disregard of the truth or falsity of the information, and require no proof of specific intent

  to defraud.” 31 U.S.C. 3729 (b)(1).

  304.    In considering the requisite scienter which subjects a defendant to liability under

  the False Claims Act, “no proof of specific intent to defraud” is required. Id. A defendant

  is liable for acting in “reckless disregard of the truth or falsity of the information” or

  acting in “deliberate ignorance of the truth or falsity of the information.” Id.


                         The Tennessee Medicaid False Claims Act

  305. The Tennessee Medicaid False Claims Act contains similar provisions as the
  federal False Claims Act.

  306. The Tennessee Medicaid False Claims Act establishes liability, inter alia, for
  anyone who "knowingly presents, or causes to be presented, a false or fraudulent claim

  for payment or approval under the [M]edicaid program," Tenn. Code Ann. § 71-5-

  182(a)(1)(A), or "knowingly makes, uses, or causes to be made or used, a false record or

  statement material to a false or fraudulent claim under the [M]edicaid program,” Tenn. Code

  Ann. § 71-5-182(a)(1)(B), “conspires to commit a violation of subdivision (a)(1)(A),

  (a)(1)(B), or (a)(1)(D),” or "knowingly makes, uses, or causes to be made or used, a false

  record or statement material to an obligation to pay or transmit money, or property to the

  state, or knowingly conceals, or knowingly and improperly, avoids or decreases an obligation

  to pay or transmit money or property to the state, relative to the [M]edicaid program.” Tenn.

  Code Ann. § 71-5-182(a)(1)(D).




                                               79
Case 3:17-cv-00902        Document 20        Filed 05/24/18      Page 79 of 89 PageID #: 209
  307. Under the Tennessee Medicaid False Claims Act, “’knowing’ and ‘knowingly’
  mean that a person, with respect to information (1) has actual knowledge of the

  information; (2) acts in deliberate ignorance of the truth or falsity of the information; or

  (3) acts in reckless disregard of the truth or falsity of the information, and no proof of

  specific intent to defraud is required.” Tenn. Code Ann. § 71-5-182(b).

  308. Statutory liability under the Tennessee Medicaid False Claims Act includes a civil
  penalty “not less than $5,000 and not more than $25,000…plus 3 times the amount of

  damages which the state sustains because of the act of that person.” Tenn. Code Ann. §

  71-5-182(a)(1)(D).


    Count I---Presenting False Claims in Violation of 31 U.S.C. § 3729(a) (1)(A) and
                Tenn. Code § 71-5-82(a)(1)(A) Against All Defendants

  309. Relator repeats and realleges the allegations and statements contained in all of the
  preceding paragraphs as though fully set forth herein.

  310. In pertinent part, the federal False Claims Act and Tennessee Medicaid False
  Claims Act establish liability for “any person who…knowingly presents, or causes to be

  presented, a false or fraudulent claim for payment or approval.” See 31 U.S.C. §

  3729(a)(1)(A); Tenn. Code Ann. § 71-5-182(a)(1)(A).

  311. Defendants knowingly or in reckless disregard or deliberate ignorance of the truth
  or falsity of the information involved, presented or caused to be presented false claims

  “for payment or approval” to the United States and State of Tennessee in violation of 31

  U.S.C. § 3729(a)(1)(A) or Tenn. Code Ann. § 71-5-182(a)(1)(A).

  312. This is a claim for treble damages and penalties under the federal False Claims
  Act, 31 U.S.C. § 3729, et seq., as amended and Tennessee Medicaid False Claims Act,



                                              80
Case 3:17-cv-00902       Document 20        Filed 05/24/18      Page 80 of 89 PageID #: 210
  Tenn. Code Ann. § 71-5-182(a)(1)(A).

  313. Through the acts described above, Defendants knowingly or in reckless disregard
  or deliberate ignorance of the truth or falsity of the information involved, presented or

  caused to be presented, false claims to officers, employees or agents of the United States

  Government and State of Tennessee, within the meaning of 31 U.S.C. § 3729(a)(1)(A)

  and Tenn. Code Ann. § 71-5-182(a)(1)(A).

  314. The United States and the State of Tennessee were unaware of the falsity of the
  records, statements and claims made or caused to be made by Defendants. In reliance on

  the accuracy of the claims, information, records, and certifications submitted by

  Defendants, the United States and the State of Tennessee paid claims that would not be

  paid if Defendants’ illegal conduct was known.

  315. As a result of Defendants’ acts, the United States and the State of Tennessee have
  sustained damages in a substantial amount to be determined at trial.

  316. Additionally, the United States and State of Tennessee are entitled to civil
  penalties for each false claim made or caused to be made by Defendants arising from

  their illegal conduct as described above.


     Count II--- Use of False Statements in Violation of 31 U.S.C. 3729(a)(1)(B) and
             Tenn. Code Ann. § 71-5-182(a)(1)(B) Against All Defendants


  317. Relator repeats and realleges the allegations and statements contained in all of the
  preceding paragraphs as though fully set forth herein.

  318. In pertinent part, the federal False Claims Act and Tennessee Medicaid False
  Claims Act establish liability for “any person who…knowingly makes, uses, or causes to

  be made or used, a false record or statement material to a false or fraudulent claim.” See


                                                81
Case 3:17-cv-00902       Document 20          Filed 05/24/18   Page 81 of 89 PageID #: 211
  31 U.S.C. § 3729(a)(1)(B); Tenn. Code Ann. § 71-5-182(a)(1)(B).

  319. This is a claim for treble damages and penalties under the federal False Claims
  Act, 31 U.S.C. § 3729, et seq., as amended and Tennessee Medicaid False Claims Act,

  Tenn. Code Ann. § 71-5-182(a)(1)(B).

  320. Through the acts described above, Defendants knowingly made, used, or caused
  to be made or used, false records and statements. Through the acts described above,

  Defendants knowingly made, used, or caused to be made or used, false records and

  statements, and omitted material facts, to get false claims paid or approved, within the

  meaning of 31 U.S.C. § 3729(a)(1)(B) and Tenn. Code Ann. § 71-5-182(a)(1)(B). The

  records were false in that they purported to show compliance with Stark laws and the

  AKS.

  321. Defendants knowingly made, used, or caused to be made or used false records or
  statements with the intent to get or cause these false claims to be paid by the United

  States and State of Tennessee.

  322. The United States and State of Tennessee were unaware of the falsity of the
  records, statements, certifications, and claims made or caused to be made by Defendants.

  The United States and State of Tennessee paid claims that would not be paid if

  Defendants’ illegal conduct was known.

  323. By virtue of the false records or false claims made by Defendants, the United
  States and State of Tennessee sustained damages and therefore are entitled to treble

  damages under the federal False Claims Act and Tennessee Medicaid False Claims Act

  respectively to be determined at trial.

  324.     Additionally, the United States and State of Tennessee are entitled to civil



                                              82
Case 3:17-cv-00902        Document 20       Filed 05/24/18   Page 82 of 89 PageID #: 212
  penalties for each false claim made and caused to be made by Defendants arising from

  their illegal conduct as described above.


       Count III--- Conspiring to Submit False Claims in Violation of 31 U.S.C. §
    3729(a)(1)(C) and Tenn. Code Ann. § 71-5-182(a)(1)(C) Against All Defendants

  325. Relator repeats and realleges the allegations and statements contained in all of the
  preceding paragraphs as though fully set forth herein.

  326. In pertinent part, the federal False Claims Act establishes liability for “any person
  who….conspires to commit a violation of subparagraph (A), (B), (D), (E), (F), or (G).”

  31 U.S.C. § 3729(a)(1)(C). The Tennessee Medicaid False Claim Act contains a similar

  provision. See Tenn. Code Ann. § 71-5-182(a)(1)(C).

  327. This is a claim for penalties and treble damages under the False Claims Act, 31
  U.S.C. § 3729, et seq., as amended and the Tennessee Medicaid False Claims Act, Tenn.

  Code Ann. § 71-5-182(a)(1)(C).

  328. Through the acts described above, Defendants acting in concert with each other
  and other contractors, agents, partners, and/or representatives, conspired to knowingly

  present or cause to be presented, false claims to the United States and State of Tennessee

  and knowingly made, used, or caused to be made or used, false records and statements,

  and omitting material facts, to get false claims paid or approved.

  329. Defendants conspired to withhold information regarding excessive and illegal
  payments to physicians who were in a position to refer and/or influence referrals of

  Medicare, Medicaid, and TRICARE patients and federal employees or retired federal

  employees to the Methodist system.

  330. As a result, the United States and State of Tennessee were unaware of the false


                                                83
Case 3:17-cv-00902       Document 20          Filed 05/24/18    Page 83 of 89 PageID #: 213
  claims submitted and caused by Defendants and the United States and State of Tennessee

  paid claims that would not be paid if the Defendants’ illegal conduct was known to the

  United States and State of Tennessee.

  331. By reason of Defendants’ acts, the United States and State of Tennessee have
  been damaged in a substantial amount to be determined at trial.

  332. By virtue of Defendants’ conspiracy to defraud the United States and State of
  Tennessee, the United States and State of Tennessee sustained damages and are entitled

  to treble damages under the Federal False Claims Act and Tennessee Medicaid False

  Claims Act, to be determined at trial, plus civil penalties for each violation.


   Count IV---Submission of Express and Implied False Certifications in Violation of
    31 U.S.C. § 3729(a)(1)(B) and Tenn. Code Ann. § 71-5-182(a)(1)(B) Against All
                                     Defendants


  333. Relator repeats and realleges the allegations and statements contained in all of the
  preceding paragraphs as though fully set forth herein.

  334. In pertinent part, the federal False Claims Act and Tennessee Medicaid False
  Claims Act establish liability for “any person who…knowingly makes, uses, or causes to

  be made or used, a false record or statement material to a false or fraudulent claim.” See

  31 U.S.C. § 3729(a)(1)(B) and Tenn. Code Ann. § 71-5-182(a)(1)(B).

  335. Compliance with Stark laws and the AKS was an explicit condition of each
  payment under federal healthcare programs. For each of the years between 2012 and the

  present, Defendants explicitly and implicitly certified compliance with Stark laws and the

  AKS.

  336. Defendants’ certifications of compliance with Stark laws and the AKS were


                                               84
Case 3:17-cv-00902        Document 20        Filed 05/24/18      Page 84 of 89 PageID #: 214
  knowingly false.

  337. In reliance on the Defendants’ express and implied certifications, the United
  States and State of Tennessee made payments to Defendants under federal and state

  health care programs. If the United States and State of Tennessee had known that

  Defendants’ certifications were false, their payments would not have been made to

  Defendants for each of the years in question.

  338. By virtue of the false records, false statements, and false certifications made by
  Defendants, the United States and State of Tennessee sustained damages and are entitled

  to treble damages under the federal False Claims Act and the Tennessee Medicaid False

  Claims Act, to be determined at trial, plus a civil penalty for each violation.


     Count V---Knowingly Causing and Retaining Overpayments in Violation of 31
      U.S.C. § 3729(a)(1)(G) and Tenn. Code Ann. § 71-5-182(a)(1)(D) Against All
                                     Defendants


  339. Relator repeats and realleges the allegations and statements contained in all of the
  preceding paragraphs as though fully set forth herein.

  340. The federal False Claims Act and Tennessee Medicaid False Claims Act also
  establish liability for any person who “knowingly and improperly avoids or decreases an

  obligation to pay or transmit money or property to the Government.” See 31 U.S.C. §

  3729(a)(1)(G); Tenn. Code Ann. § 71-5-182(a)(1)(D).            The False Claims Act and

  Tennessee Medicaid False Claims Act define “obligation” as “an established duty,

  whether or not fixed, arising from an express or implied contractual, grantor-grantee, or

  licensor-licensee relationship, from a fee-based or similar relationship, from statute or

  regulation, or from the retention of any overpayment.” See 31 U.S.C. § 3729(b)(3); Tenn.



                                               85
Case 3:17-cv-00902        Document 20        Filed 05/24/18      Page 85 of 89 PageID #: 215
  Code Ann. § 71-5-182(d).

  341. “An entity that collects payment for [Designated Health Services] that was
  performed pursuant to a prohibited referral must refund all collected amounts on a timely

  basis.” See 42 C.F.R. § 411.353(d).

  342. “The OIG may impose a penalty, and where authorized, an assessment against
  any person…whom it determines…[h]as not refunded on a timely basis….amounts

  collected as the result of billing an individual, third party payer or other entity for a

  [DHS] that was provided in accordance with a prohibited referral as described in [42

  C.F.R. § 411.353].” See 42 C.F.R. § 1003.102(b)(9).

  343. Defendants have knowingly caused and retained overpayments from federal and
  state health care programs arising from Defendants’ violations of the Stark laws and

  AKS.

  344. By virtue of Defendants causing and retaining overpayments from the Medicare
  Program, the Medicaid Program, and other federal health care programs, the United

  States and State of Tennessee sustained damages and are entitled to treble damages under

  the False Claims Act and Tennessee Medicaid False Claims Act respectively, to be

  determined at trial, plus a civil penalty for each violation.

  Count VI--- False Record to Avoid an Obligation to Refund Against All Defendants

  345. Relator repeats and realleges the allegations and statements contained in all of the
  preceding paragraphs as though fully set forth herein.

  346. The False Claims Act and Tennessee Medicaid False Claims Act also establish
  liability for any person who “knowingly and improperly avoids or decreases an obligation

  to pay or transmit money or property to the Government.” See 31 U.S.C. § 3729(a)(1)(G);



                                               86
Case 3:17-cv-00902        Document 20        Filed 05/24/18       Page 86 of 89 PageID #: 216
  Tenn. Code Ann. § 71-5-182(a)(1)(D).

  347.    Defendants knowingly made and used, or caused to be made or used, false

  records or false statements, i.e., the false certifications made or caused to be made by

  Defendants in submitting the cost reports, to conceal, avoid, or decrease an obligation to

  pay or transmit money or property to the United States and State of Tennessee.

  348. By virtue of the false records or false statements made by the Defendants, the
  United States and State of Tennessee sustained damages and therefore are entitled to

  treble damages, to be determined at trial, plus civil penalties for each violation.


                                       Prayers for Relief


  349. On behalf of the United States and State of Tennessee, Relator requests and prays
  that judgment be entered against Defendants in the amount of the United States’ and State

  of Tennessee’s respective damages, trebled as required by law, such civil penalties as are

  required by law, for a qui tam relator’s share as specified by 31 U.S.C. §3730(d) and

  Tenn. Code Ann. § 71-5-183(d), for attorney’s fees, costs and expenses as provided by

  31 U.S.C. §3730(d) and Tenn. Code Ann. § 71-5-183(d), and for all such further legal

  and equitable relief as may be just and proper.

                               Jury trial is hereby demanded.

  This 24th of May, 2018.

         /s/ Jerry E. Martin
         Jerry E. Martin (TNBPR No. 20193)
         Seth Hyatt (TNBPR No. 31171)
         Barrett, Johnston Martin & Garrison, LLC
         414 Union Street; Suite 900
         Nashville, TN 37219
         (615) 244-2202



                                               87
Case 3:17-cv-00902        Document 20        Filed 05/24/18      Page 87 of 89 PageID #: 217
         Lead counsel:

         /s/ Bryan A. Vroon
         Bryan A. Vroon, Esq.
         (Admitted Pro Hac)
         Georgia Bar No. 729086
         Law Offices of Bryan A. Vroon, LLC
         1380 West Paces Ferry Road
         Suite 2270
         Atlanta Georgia 30327
         (404) 441-9806
         bryanvroon@gmail.com


         Edward D. Robertson, Jr.
         (Admitted Pro Hac)
         Bartimus, Frickleton & Robertston
         715 Swifts Highway
         Jefferson City, MO. 65109
         573-659-4454
         chiprob@earthlink.net



                                   Certificate of Service

         This is to certify that I have this day served a copy of the Relator’s First Amended

  Complaint by depositing a true and correct copy of same by Certified Mail in the United

  States Mail, postage prepaid, addressed as follows:

     The Honorable Attorney General Jeff Sessions
     Attorney General of the United States
     Attention: Seal Clerk
     United States Department of Justice
     950 Pennsylvania Avenue NW
     Washington, D.C. 20530-0001

     The Honorable Donald Q. Cochran
     United States Attorney for the Middle District of Tennessee
     Attention: Seal Clerk
     110 9th Avenue South, Suite A-961
     Nashville, Tennessee 37203

     The Honorable Herbert H. Slatery III
     Attorney General of the State of Tennessee

                                             88
Case 3:17-cv-00902       Document 20       Filed 05/24/18      Page 88 of 89 PageID #: 218
     Attention: Seal Clerk
     Office of the Attorney General
     P.O. Box 20207
     Nashville, TN 37202-0207

     Linda McMahon
     Senior Trial Counsel
     United States Department of Justice
     Civil Division/Fraud Section
     175 N Street, N.E.
     9th Floor
     Washington, D.C. 20002

     Christopher Sabis
     Assistant United States Attorney
     United States Attorney’s Office
     Middle District of Tennessee
     110 9th Avenue South, Suite A-961
     Nashville, TN 37203


     Kelly M. Horejs
     Assistant Attorney General
     Medicaid Fraud and Integrity Division
     Office of the Tennessee Attorney General
     P.O. Box 20207
     Nashville, Tennessee 37202-0207


  This 24th day of May, 2018.


                                                    /s/ Jerry E. Martin
                                                    Jerry E. Martin




                                             89
Case 3:17-cv-00902      Document 20        Filed 05/24/18   Page 89 of 89 PageID #: 219
